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                                                                       APPEAL,CLOSED,JURY,TYPE−L
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:18−cv−02885−ESH

CORSI v. MUELLER et al                                           Date Filed: 12/09/2018
Assigned to: Judge Ellen S. Huvelle                              Date Terminated: 10/31/2019
 Case: 1:13−cv−00851−RJL                                         Jury Demand: Plaintiff
Case in other court: USCA, 19−05057                              Nature of Suit: 440 Civil Rights: Other
                                                                 Jurisdiction: U.S. Government Defendant
Cause: 28:1331 Federal Question: Other Civil Rights
Plaintiff
JEROME CORSI                                    represented by Larry E. Klayman
an individual                                                  KLAYMAN LAW GROUP, P.A.
                                                               2020 Pennsylvania Avenue, NW
                                                               Suite 800
                                                               Washington, DC 20006
                                                               (310) 595−0800
                                                               Fax: (202) 379−9289
                                                               Email: leklayman@gmail.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
ROBERT MUELLER                                  represented by Elizabeth Murray Tulis
an individual, Individually and in his                         U.S. DEPARTMENT OF JUSTICE
official capacity as Special Counsel                           Civil Division, Federal Programs Branch
                                                               1100 L Street NW
                                                               Washington, DC 20005
                                                               (202) 514−9237
                                                               Fax: (202) 616−8470
                                                               Email: elizabeth.tulis@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                 Laura Katherine Smith
                                                                 U.S. DEPARTMENT OF JUSTICE
                                                                 Civil Division
                                                                 P.O. Box 7146
                                                                 Washington, DC 20044
                                                                 (202) 616−0419
                                                                 Email: laura.smith2@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Defendant
                                                represented by
                                                                                                           1
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FEDERAL BUREAU OF                                   Elizabeth Murray Tulis
INVESTIGATION                                       (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
NATIONAL SECURITY AGENCY             represented by Elizabeth Murray Tulis
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
CENTRAL INTELLIGENCE                 represented by Elizabeth Murray Tulis
AGENCY                                              (See above for address)
Washington, DC 20505                                LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
UNITED STATES DEPARTMENT OF          represented by Elizabeth Murray Tulis
JUSTICE                                             (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
JEFF BEZOS                           represented by Eric J. Feder
TERMINATED: 07/23/2019                              DAVIS WRIGHT TREMAINE LLP
                                                    1919 Pennsylvania Avenue, N.W.
                                                    Suite 800
                                                    Washington, DC 20006
                                                    (202) 973−4273
                                                    Fax: (202) 973−4499
                                                    Email: ericfeder@dwt.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Laura Rose Handman
                                                    DAVIS WRIGHT TREMAINE LLP
                                                    1919 Pennsylvania Avenue, N.W.
                                                    Suite 800
                                                    Washington, DC 20006
                                                    (202) 973−4224
                                                    Fax: (202) 973−4499
                                                    Email: laurahandman@dwt.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
WASHINGTON POST                      represented by Eric J. Feder
TERMINATED: 07/23/2019                              (See above for address)
doing business as                                   LEAD ATTORNEY
                                                                                     2
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WP COMPANY LLC                                               ATTORNEY TO BE NOTICED

                                                             Laura Rose Handman
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
MANUEL ROIG−FRANZIA                          represented by Eric J. Feder
TERMINATED: 07/23/2019                                      (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                             Laura Rose Handman
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
UNITED STATES OF AMERICA                     represented by Laura Katherine Smith
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Movant
DAVID ANDREW CHRISTENSON                     represented by DAVID ANDREW CHRISTENSON
                                                            P.O. Box 9063
                                                            Miramar Beach, FL 32550
                                                            PRO SE


Date Filed   #   Page Docket Text
12/09/2018   1        COMPLAINT against ALL DEFENDANTS with Jury Demand ( Filing fee $
                      400 receipt number 0090−5829000) filed by JEROME CORSI. (Attachments: #
                      1 Civil Cover Sheet, # 2 Summons, # 3 Summons, # 4 Summons, # 5 Summons,
                      # 6 Summons, # 7 Summons)(Klayman, Larry) (Entered: 12/09/2018)
12/09/2018   2        NOTICE OF RELATED CASE by JEROME CORSI. Case related to Case No.
                      13−cv−0851. (Klayman, Larry) (Main Document 2 replaced on 1/4/2019)
                      (znmw). (Entered: 12/09/2018)
12/10/2018            Case Assigned to Judge Richard J. Leon. (zmd) (Entered: 12/10/2018)
12/10/2018   3        SUMMONS (7) Issued Electronically as to CENTRAL INTELLIGENCE
                      AGENCY, FEDERAL BUREAU OF INVESTIGATION, ROBERT
                      MUELLER, NATIONAL SECURITY AGENCY, UNITED STATES
                      DEPARTMENT OF JUSTICE, U.S. Attorney and U.S. Attorney General
                      (Attachments: # 1 Notice and Consent) (zmd) (Entered: 12/10/2018)
12/12/2018   4        ORDER re 2 Notice of Related Case filed by JEROME CORSI: The plaintiff
                      shall show cause in writing within 14 days of this Order why this case is related

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                   to Klayman v. Obama, C.A. No. 13−cv−851 for the purpose of the Rule 40.5
                   procedure; and it is further ordered that a hearing on plaintiff's notice is
                   scheduled for 1/3/2019 at 03:00 PM in Courtroom 18 before Judge Richard J.
                   Leon; and it is further ordered that failure to file a timely response to this Order
                   may result in dismissal of this case. Signed by Judge Richard J. Leon on
                   12/12/18. (tb) (Entered: 12/12/2018)
12/14/2018   5     MOTION for Joinder by DAVID ANDREW CHRISTENSON (Attachments: #
                   1 Exhibits)(jf) (Entered: 12/18/2018)
12/26/2018   6     NOTICE of Appearance by Elizabeth Murray Tulis on behalf of CENTRAL
                   INTELLIGENCE AGENCY, FEDERAL BUREAU OF INVESTIGATION,
                   NATIONAL SECURITY AGENCY, UNITED STATES DEPARTMENT OF
                   JUSTICE (Tulis, Elizabeth) (Entered: 12/26/2018)
12/26/2018   7     MOTION to Stay Hearing Date in Light of Lapse of Appropriations by
                   CENTRAL INTELLIGENCE AGENCY, FEDERAL BUREAU OF
                   INVESTIGATION, NATIONAL SECURITY AGENCY, UNITED STATES
                   DEPARTMENT OF JUSTICE (Tulis, Elizabeth) (Entered: 12/26/2018)
12/26/2018   8     RESPONSE TO ORDER OF THE COURT re 4 Order,,, Set Hearings,, filed by
                   JEROME CORSI. (Klayman, Larry) (Entered: 12/26/2018)
12/26/2018   9     RESPONSE re 7 MOTION to Stay Hearing Date in Light of Lapse of
                   Appropriations filed by JEROME CORSI. (Attachments: # 1 Exhibit Exhibit
                   1)(Klayman, Larry) (Entered: 12/26/2018)
12/27/2018         MINUTE ORDER. Upon consideration of defendants' 7 Motion for a Stay of
                   Hearing Date in Light of Lapse of Appropriations, it is hereby ORDERED that
                   the motion is DENIED. The hearing set by this Court's December 12, 2018
                   Order shall take place as scheduled on January 3, 2019, at 03:00 PM in
                   Courtroom 18 before Judge Richard J. Leon. SO ORDERED. Signed by Judge
                   Richard J. Leon on 12/27/18. (lcrjl1) (Entered: 12/27/2018)
12/31/2018   10    RESPONSE re 8 Response to Order of the Court, 2 Notice of Related Case filed
                   by CENTRAL INTELLIGENCE AGENCY, FEDERAL BUREAU OF
                   INVESTIGATION, NATIONAL SECURITY AGENCY, UNITED STATES
                   DEPARTMENT OF JUSTICE. (Tulis, Elizabeth) (Entered: 12/31/2018)
12/31/2018   11    REPLY re 8 Response to Order of the Court filed by JEROME CORSI.
                   (Klayman, Larry) (Entered: 12/31/2018)
01/03/2019         Minute Entry for proceedings held before Judge Richard J. Leon: Show Cause
                   Hearing held on 1/3/2019. For the reasons stated on the record in open Court, it
                   is ORDERED that the Clerk of Court shall transfer this matter to the Calendar
                   and Case Management Committee for random reassignment. (Court Reporter:
                   Lisa Moreira) (jth) (Entered: 01/03/2019)
01/03/2019   12    MEMORANDUM ORDER that the Clerk of Court shall transfer this matter −−
                   Corsi v. Mueller et al., No. 18−cv−2885 −− to the Calendar and Case
                   Management Committee for random reassignment. SO ORDERED. (See the
                   Order for complete details) Signed by Judge Richard J. Leon on 1/3/2019. (jth)
                   (Entered: 01/03/2019)
01/03/2019   13    Case randomly reassigned to Judge Ellen S. Huvelle. Judge Richard J. Leon is
                   no longer assigned to the case. (rj) (Entered: 01/03/2019)
                                                                                                          4
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01/04/2019   14    TRANSCRIPT OF RELATED CASE HEARING before Judge Richard J. Leon
                   held on January 3, 2019; Page Numbers: 1−15. Date of Issuance:January 4,
                   2019. Court Reporter/Transcriber Lisa A. Moreira, RDR, CRR, Telephone
                   number 202−354−3187, Transcripts may be ordered by submitting the
                   Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other
                   transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                   from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                   twenty−one days to file with the court and the court reporter any request to
                   redact personal identifiers from this transcript. If no such requests are filed, the
                   transcript will be made available to the public via PACER without redaction
                   after 90 days. The policy, which includes the five personal identifiers
                   specifically covered, is located on our website at www.dcd.uscourts.gov.

                   Redaction Request due 1/25/2019. Redacted Transcript Deadline set for
                   2/4/2019. Release of Transcript Restriction set for 4/4/2019.(Moreira, Lisa)
                   (Entered: 01/04/2019)
01/21/2019   15    AMENDED COMPLAINT against All Defendants with Jury Demand filed by
                   JEROME CORSI.(Klayman, Larry) (Entered: 01/21/2019)
01/22/2019   16    NOTICE of Errata by JEROME CORSI re 15 Amended Complaint
                   (Attachments: # 1 Exhibit)(Klayman, Larry) (Entered: 01/22/2019)
02/07/2019   17    Consent MOTION for Extension of Time to Respond to Amended Complaint by
                   CENTRAL INTELLIGENCE AGENCY, FEDERAL BUREAU OF
                   INVESTIGATION, NATIONAL SECURITY AGENCY, UNITED STATES
                   DEPARTMENT OF JUSTICE (Attachments: # 1 Text of Proposed
                   Order)(Tulis, Elizabeth) (Entered: 02/07/2019)
02/07/2019         MINUTE ORDER granting 17 Consent Motion for Extension of Time: Having
                   considered the Government's Consent Motion for One−Month Extension of
                   Time to Respond to Amended Complaint, it is hereby ORDERED that the
                   motion is GRANTED; and it is further ORDERED that the Government's
                   deadline to answer or otherwise respond to the plaintiff's amended complaint is
                   hereby extended to and including March 19, 2019. Signed by Judge Ellen S.
                   Huvelle on February 7, 2019. (AG) (Entered: 02/07/2019)
02/07/2019         Set/Reset Deadlines: Answer due by 3/19/2019. (gdf) (Entered: 02/08/2019)
03/06/2019   18    MEMORANDUM OPINION AND ORDER denying 5 Motion for Joinder. See
                   Memorandum Opinion and Order for details. Signed by Judge Ellen S. Huvelle
                   on 3/6/19. (lcesh2) (Entered: 03/06/2019)
03/06/2019   19    LEAVE TO FILE DENIED− Supplement to Amicus Brief submitted by movant
                   David Andrew Christenson. This document is unavailable as the Court denied its
                   filing. "Leave to file DENIED as motion to intervene denied. No further filings
                   will be accepted by the Clerk" Signed by Judge Ellen S. Huvelle on 03/06/2019.
                   (jf) (Entered: 03/07/2019)

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03/11/2019   20    NOTICE OF APPEAL as to 18 Order on Motion for Joinder by DAVID
                   ANDREW CHRISTENSON. Fee Status: No Fee Paid. Parties have been
                   notified. (jf) (Entered: 03/13/2019)
03/13/2019   21    Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion),
                   and Docket Sheet to US Court of Appeals. The fee remains to be paid and
                   another notice will be transmitted when the fee has been paid in the District
                   Court re 20 Notice of Appeal. (jf) (Entered: 03/13/2019)
03/15/2019         USCA Case Number 19−5057 for 20 Notice of Appeal filed by DAVID
                   ANDREW CHRISTENSON. (zrdj) (Entered: 03/18/2019)
03/19/2019   22    MOTION to Dismiss for Lack of Jurisdiction , MOTION to Dismiss for Failure
                   to State a Claim Upon Which Relief May Be Granted by CENTRAL
                   INTELLIGENCE AGENCY, FEDERAL BUREAU OF INVESTIGATION,
                   NATIONAL SECURITY AGENCY, UNITED STATES DEPARTMENT OF
                   JUSTICE (Attachments: # 1 Memorandum in Support, # 2 Text of Proposed
                   Order)(Tulis, Elizabeth) (Entered: 03/19/2019)
03/21/2019   23    REQUEST FOR SUMMONS TO ISSUE filed by JEROME CORSI.
                   (Attachments: # 1 Summons, # 2 Summons)(Klayman, Larry) (Entered:
                   03/21/2019)
03/26/2019   24    SUMMONS (3) Issued Electronically as to JEFF BEZOS, MANUEL
                   ROIG−FRANZIA, WASHINGTON POST. (jf) (Entered: 03/26/2019)
04/02/2019   25    Consent MOTION for Extension of Time to File Response/Reply as to 22
                   MOTION to Dismiss for Lack of Jurisdiction MOTION to Dismiss for Failure
                   to State a Claim Upon Which Relief May Be Granted by JEROME CORSI
                   (Klayman, Larry) (Entered: 04/02/2019)
04/02/2019         MINUTE ORDER granting 25 Consent Motion for Extension of Time to File
                   Response/Reply re 22 defendants' MOTION to Dismiss: It is hereby ORDERED
                   that plaintiff Jerome Corsi's Motion for Extension of Time is hereby
                   GRANTED.; it is further ORDERED that plaintiff's response to defendants'
                   Motion to Dismiss is due on APRIL 23, 2019; and it is further ORDERED that
                   any reply is due on MAY 13, 2019. Signed by Judge Ellen S. Huvelle on April
                   1, 2019. (AG) (Entered: 04/02/2019)
04/15/2019   26    NOTICE of Appearance by Laura Katherine Smith on behalf of ROBERT
                   MUELLER (Smith, Laura) (Entered: 04/15/2019)
04/15/2019   27    MOTION to Dismiss Individual−Capacity Claims and Memorandum of Points
                   and Authorities by ROBERT MUELLER (Attachments: # 1 Exhibit A (Scope
                   Certification), # 2 Text of Proposed Order)(Smith, Laura) (Entered: 04/15/2019)
04/15/2019   28    MOTION to Dismiss Counts III and IV by United States (Attachments: # 1 Text
                   of Proposed Order)(Smith, Laura) (Entered: 04/15/2019)
04/17/2019   29    NOTICE to the Court by JEROME CORSI (Klayman, Larry) (Entered:
                   04/17/2019)
04/23/2019   30    Consent MOTION for Extension of Time to File Response/Reply as to 22
                   MOTION to Dismiss for Lack of Jurisdiction MOTION to Dismiss for Failure
                   to State a Claim Upon Which Relief May Be Granted by JEROME CORSI
                   (Klayman, Larry) (Entered: 04/23/2019)

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04/23/2019         MINUTE ORDER granting 30 Consent Motion for Extension of Time to File
                   Response/Reply re 22 MOTION to Dismiss: It is hereby ORDERED that the
                   motion is GRANTED; and it is further ORDERED that plaintiff shall file his
                   response by April 29, 2019; it is further ORDERED that defendants' reply
                   deadline is extended to May 19, 2019; and it is further ORDERED that any
                   future motion that does not comply with LCvR 7(c) ("PROPOSED ORDER.
                   Each motion and opposition shall be accompanied by a proposed order.") will be
                   denied without prejudice. Signed by Judge Ellen S. Huvelle on April 23, 2019.
                   (AG) (Entered: 04/23/2019)
04/29/2019   31    NOTICE of Appearance by Laura Rose Handman on behalf of JEFF BEZOS,
                   MANUEL ROIG−FRANZIA, WASHINGTON POST (Handman, Laura)
                   (Entered: 04/29/2019)
04/29/2019   32    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests of WP Company LLC d/b/a The Washington Post by JEFF
                   BEZOS (Handman, Laura) (Entered: 04/29/2019)
04/29/2019   33    Consent MOTION for Extension of Time to File Answer re 1 Complaint, by
                   JEFF BEZOS, MANUEL ROIG−FRANZIA, WASHINGTON POST
                   (Handman, Laura) (Entered: 04/29/2019)
04/29/2019         MINUTE ORDER granting 33 Consent Motion for Extension of Time to
                   Answer: Upon consideration of the Consent Motion for Extension of Time to
                   Answer orOtherwise Respond to the Complaint filed herewith by Defendants
                   WP Company LLC d/b/a The Washington Post, Manuel Roig−Franzia, and Jeff
                   Bezos ("Defendants"), it is hereby ORDERED that Defendants' motion is
                   GRANTED; and it is further ORDERED that the deadline for the Defendants to
                   answer or otherwise respond to the Complaint is extended to May 14, 2019.
                   Signed by Judge Ellen S. Huvelle on April 29, 2019. (AG) (Entered:
                   04/29/2019)
04/29/2019   34    RESPONSE re 28 MOTION to Dismiss Counts III and IV, 22 MOTION to
                   Dismiss for Lack of Jurisdiction MOTION to Dismiss for Failure to State a
                   Claim Upon Which Relief May Be Granted filed by JEROME CORSI.
                   (Klayman, Larry) (Entered: 04/29/2019)
04/29/2019   35    Consent MOTION for Extension of Time to File Response/Reply as to 27
                   MOTION to Dismiss Individual−Capacity Claims and Memorandum of Points
                   and Authorities by JEROME CORSI (Attachments: # 1 Text of Proposed
                   Order)(Klayman, Larry) (Entered: 04/29/2019)
04/30/2019         MINUTE ORDER granting 35 Consent Motion for Extension of Time to File
                   Response/Reply re 27 defendant Robert Mueller's MOTION to Dismiss
                   Individual−Capacity Claims: Upon consideration of the above−referenced
                   motion, it is hereby ORDERED that the motion is GRANTED; and it is further
                   ORDERED that plaintiff's response to defendant Mueller's Motion to Dismiss is
                   due on May 20, 2019; it is further ORDERED that any Reply thereto is due on
                   June 17, 2019. Signed by Judge Ellen S. Huvelle on April 30, 2019. (AG)
                   (Entered: 04/30/2019)
05/08/2019   36    NOTICE of Appearance by Eric J. Feder on behalf of JEFF BEZOS, MANUEL
                   ROIG−FRANZIA, WASHINGTON POST (Feder, Eric) (Entered: 05/08/2019)
05/13/2019   37

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                   Consent MOTION for Extension of Time to File Answer re 15 Amended
                   Complaint by JEFF BEZOS, MANUEL ROIG−FRANZIA, WASHINGTON
                   POST (Handman, Laura) (Entered: 05/13/2019)
05/15/2019         MINUTE ORDER granting 37 Consent Motion for Extension of Time to
                   Answer: Upon consideration of the Consent Motion for Extension of Time to
                   Answer or Otherwise Respond to the Complaint filed by Defendants WP
                   Company LLC d/b/a The Washington Post, Manuel Roig−Franzia, and Jeff
                   Bezos (the "Post Defendants"), it is hereby ORDERED that the motion is
                   GRANTED; and it is further ORDERED that the deadline for the Post
                   Defendants to answer or otherwise respond to the Amended Complaint is
                   extended to June 12, 2019; and it is further ORDERED that, if Plaintiff files a
                   motion for leave to file a Second Amended Complaint by May 17, 2019, and the
                   Court grants said motion, that the deadline for the Post Defendants to answer or
                   otherwise respond to the Second Amended Complaint be set as June 12, 2019.
                   Signed by Judge Ellen S. Huvelle on May 15, 2019. (AG) (Entered: 05/15/2019)
05/17/2019   38    REPLY to opposition to motion re 22 MOTION to Dismiss for Lack of
                   Jurisdiction MOTION to Dismiss for Failure to State a Claim Upon Which
                   Relief May Be Granted filed by CENTRAL INTELLIGENCE AGENCY,
                   FEDERAL BUREAU OF INVESTIGATION, NATIONAL SECURITY
                   AGENCY, UNITED STATES DEPARTMENT OF JUSTICE. (Tulis,
                   Elizabeth) (Entered: 05/17/2019)
05/20/2019   39    Consent MOTION for Extension of Time to File Response/Reply as to 27
                   MOTION to Dismiss Individual−Capacity Claims and Memorandum of Points
                   and Authorities by JEROME CORSI (Attachments: # 1 Text of Proposed
                   Order)(Klayman, Larry) (Entered: 05/20/2019)
05/20/2019         MINUTE ORDER granting 39 Consent Motion for Extension of Time to File
                   Response: It is hereby ORDERED that Plaintiff Jerome Corsi's Motion for
                   Extension of Time to Respond to Defendant Robert Mueller's Motion to Dismiss
                   (ECF No. 27 ) is GRANTED; and it is further ORDERED that any opposition
                   thereto is due on May 30, 2019. Signed by Judge Ellen S. Huvelle on May 20,
                   2019. (AG) (Entered: 05/20/2019)
05/20/2019         Set/Reset Deadlines: Response due by 5/30/2019. (gdf) (Entered: 05/20/2019)
05/20/2019         Set/Reset Deadlines: Response due by 5/30/2019 (gdf) (Entered: 05/21/2019)
05/23/2019   42    MOTION for Leave to Appeal in forma pauperis by DAVID ANDREW
                   CHRISTENSON (Attachments: # 1 Exhibits)(jf) (Entered: 05/31/2019)
05/30/2019   40    RESPONSE re 27 MOTION to Dismiss Individual−Capacity Claims and
                   Memorandum of Points and Authorities filed by JEROME CORSI.
                   (Attachments: # 1 Exhibit)(Klayman, Larry) (Entered: 05/30/2019)
05/30/2019   41    MOTION for Leave to File Second Amended Complaint by JEROME CORSI
                   (Attachments: # 1 Exhibit Second Amended Complaint, # 2 Text of Proposed
                   Order)(Klayman, Larry) (Entered: 05/30/2019)
06/03/2019         MINUTE ORDER denying as moot 42 Motion for Leave to Appeal in forma
                   pauperis filed by David Christenson: The appeal filed by Movant David
                   Christenson, No. 19−5057, has been dismissed for lack of prosecution.
                   Accordingly, it is hereby ORDERED that the above−referenced motion for

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                   leave to appeal in forma pauperis is denied as moot. Signed by Judge Ellen S.
                   Huvelle on June 3, 2019. (AG) (Entered: 06/03/2019)
06/03/2019   44    LEAVE TO FILE DENIED− Notice submitted by David Andrew Christenson.
                   This document is unavailable as the Court denied its filing. "Leave to file
                   denied" Signed by Judge Ellen S. Huvelle on 06/03/2019. (jf) (Entered:
                   06/07/2019)
06/03/2019   45    LEAVE TO FILE DENIED− Notice submitted by David Andrew Christenson.
                   This document is unavailable as the Court denied its filing. "LEAVE TO FILE
                   DENIED" Signed by Judge Ellen S. Huvelle on 06/03/2019. (jf) (Entered:
                   06/07/2019)
06/05/2019   43    Supplemental Record on Appeal transmitted to US Court of Appeals re Order on
                   Motion for Leave to Appeal in forma pauperis; USCA Case Number 19−5057.
                   (jf) (Entered: 06/05/2019)
06/05/2019   46    MANDATE of USCA as to 20 Notice of Appeal filed by DAVID ANDREW
                   CHRISTENSON ; USCA Case Number 19−5057. (Attachments: # 1 USCA
                   Order)(zrdj) (Entered: 06/10/2019)
06/10/2019   47    LEAVE TO FILE DENIED− Notice by David Andrew Christenson. This
                   document is unavailable as the Court denied its filing. "LEAVE TO FILE
                   DENIED" Signed by Judge Ellen S. Huvelle on 6/10/2019. (jf) (Entered:
                   06/12/2019)
06/12/2019   48    MOTION to Dismiss Complaint by JEFF BEZOS, MANUEL
                   ROIG−FRANZIA, WASHINGTON POST (Attachments: # 1 Memorandum in
                   Support, # 2 Declaration of Eric J. Feder, # 3 Exhibit 1, # 4 Exhibit 2, # 5
                   Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Text of Proposed
                   Order)(Handman, Laura) (Entered: 06/12/2019)
06/13/2019   49    Memorandum in opposition to re 41 MOTION for Leave to File Second
                   Amended Complaint filed by ROBERT MUELLER. (Smith, Laura) (Entered:
                   06/13/2019)
06/17/2019   50    REPLY to opposition to motion re 27 MOTION to Dismiss
                   Individual−Capacity Claims and Memorandum of Points and Authorities filed
                   by ROBERT MUELLER. (Smith, Laura) (Entered: 06/17/2019)
06/20/2019   51    Consent MOTION for Extension of Time to File Reply to Opposition to Motion
                   for Leave to File Second Amended Complaint and Proposed Order by JEROME
                   CORSI (Klayman, Larry) (Entered: 06/20/2019)
06/20/2019         MINUTE ORDER granting 51 Consent Motion for Extension of Time: It is
                   hereby ORDERED that Plaintiff Jerome Corsi's Motion for Extension of Time
                   to Reply to Defendant Robert Mueller's Opposition to Motion for Leave to File
                   Second Amended Complaint is GRANTED; and it is further ORDERED that
                   any plaintiff's reply is due on July 5, 2019. Signed by Judge Ellen S. Huvelle on
                   June 20, 2019. (AG) (Entered: 06/20/2019)
06/20/2019         Set/Reset Deadlines: Reply due by 7/5/2019. (gdf) (Entered: 06/21/2019)
06/26/2019         ENTERED IN ERROR.....Case directly reassigned to Judge Carl J. Nichols.
                   Judge Ellen S. Huvelle is no longer assigned to the case. (ztnr) Modified on
                   7/3/2019 (rj). (Entered: 06/26/2019)

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06/26/2019   52    Consent MOTION for Extension of Time to File Response/Reply as to 48
                   MOTION to Dismiss Complaint and Proposed Order by JEROME CORSI
                   (Klayman, Larry) (Entered: 06/26/2019)
07/05/2019   53    REPLY to opposition to motion re 41 MOTION for Leave to File Second
                   Amended Complaint filed by JEROME CORSI. (Attachments: # 1
                   Exhibit)(Klayman, Larry) (Entered: 07/05/2019)
07/07/2019         MINUTE ORDER granting 52 Consent Motion for Extension of Time to File
                   Response/Reply re 48 MOTION to Dismiss: Upon consideration of plaintiff
                   Jerome Corsi's Consent Motion for Extension of Time, it is hereby ORDERED
                   that the motion is GRANTED; and it is further ORDERED that any response to
                   Defendants Jeff Bezos, Manuel Roig−Franzia and Washington Post's Motion to
                   Dismiss is due on July 17, 2019, and any reply thereto is due on July 31, 2019.
                   Signed by Judge Ellen S. Huvelle on July 7, 2019. (AG) (Entered: 07/07/2019)
07/08/2019         Set/Reset Deadlines: Response due by 7/17/2019. Reply due by 7/31/2019. (gdf)
                   (Entered: 07/08/2019)
07/08/2019   54    MOTION for Voluntary Recusal by JEROME CORSI (Klayman, Larry);
                   Modified event and text on 7/9/2019 (tth). (Entered: 07/08/2019)
07/10/2019         MINUTE ORDER denying 54 Motion to Disqualify Judge as moot as Judge
                   Nichols is no longer assigned to this case. Signed by Judge Ellen S. Huvelle on
                   July 10, 2019. (AG) (Entered: 07/10/2019)
07/16/2019   55    Consent MOTION for Extension of Time to File Opposition to Motion to
                   Dismiss and Proposed Order by JEROME CORSI (Klayman, Larry) (Entered:
                   07/16/2019)
07/17/2019         MINUTE ORDER granting 55 Plaintiff's Motion for Extension of Time, to
                   which defendants consent. Any response to defendants Jeff Bezos, Manuel
                   Roig−Franzia, and Washington Post's 48 Motion to Dismiss is due July 29,
                   2019. The deadline for defendants' reply is hereby extended to August 30, 2019.
                   Signed by Judge Ellen S. Huvelle on 7/17/19.(lcesh2) (Entered: 07/17/2019)
07/17/2019         Set/Reset Deadlines: Response due by 7/29/2019. Reply due by 8/30/2019. (gdf)
                   (Entered: 07/17/2019)
07/23/2019   56    NOTICE of Voluntary Dismissal re Washington Post, Jeff Bezos, Manuel
                   Roig−Franzia (Klayman, Larry) (Entered: 07/23/2019)
07/24/2019         MINUTE ORDER finding as moot 48 Motion to Dismiss filed by defendants
                   Washington Post, Jeff Bezos, and Manuel Roig−Franzia in light of plaintiff's
                   voluntary dismissal without prejudice, pursuant to Federal Rules of Civil
                   Procedure 41(a)(1)(A)(i), of the above−referenced matter as to these defendants.
                   (See ECF No. 56 .) Signed by Judge Ellen S. Huvelle on July 22, 2019. (AG)
                   (Entered: 07/24/2019)
09/11/2019         MINUTE ORDER: It is hereby ORDERED that a Motions Hearing on all
                   pending motions is set for 10/2/2019 at 02:30 PM in Courtroom 23A before
                   Judge Ellen S. Huvelle. Signed by Judge Ellen S. Huvelle on September 11,
                   2019. (AG) (Entered: 09/11/2019)
10/02/2019         Minute Entry for proceedings held before Judge Ellen S. Huvelle: Motion
                   Hearing held on 10/2/2019 re 41 MOTION for Leave to File Second Amended

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                   Complaint filed by JEROME CORSI, 28 MOTION to Dismiss Counts III and
                   IV filed by UNITED STATES OF AMERICA, 27 MOTION to Dismiss
                   Individual−Capacity Claims and Memorandum of Points and Authorities filed
                   by ROBERT MUELLER, 48 MOTION to Dismiss Complaint filed by
                   WASHINGTON POST, JEFF BEZOS, MANUEL ROIG−FRANZIA, 22
                   MOTION to Dismiss for Lack of Jurisdiction MOTION to Dismiss for Failure
                   to State a Claim Upon Which Relief May Be Granted filed by NATIONAL
                   SECURITY AGENCY, CENTRAL INTELLIGENCE AGENCY, UNITED
                   STATES DEPARTMENT OF JUSTICE, FEDERAL BUREAU OF
                   INVESTIGATION. Court heard arguments from both parties and will take the
                   Motion under advisement. Court Reporter: Lisa Griffith. (zjch) (Entered:
                   10/03/2019)
10/02/2019   57    Exhibit List. (zjch) (Entered: 10/03/2019)
10/10/2019   58    TRANSCRIPT OF PROCEEDINGS before Judge Ellen S. Huvelle held on
                   10−2−19; Page Numbers: 1−74. Date of Issuance:10−10−19. Court Reporter
                   Lisa Griffith, Telephone number (202) 354−3247, Transcripts may be ordered
                   by submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 da ys, the transcript may be accessed via PACER. Other
                   transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                   from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                   twenty−one days to file with the court and the court reporter any request to
                   redact personal identifiers from this transcript. If no such requests are filed, the
                   transcript will be made available to the public via PACER without redaction
                   after 90 days. The policy, which includes the five personal identifiers
                   specifically covered, is located on our website at www.dcd.uscourts.gov.

                   Redaction Request due 10/31/2019. Redacted Transcript Deadline set for
                   11/10/2019. Release of Transcript Restriction set for 1/8/2020.(Griffith, Lisa)
                   (Entered: 10/10/2019)
10/31/2019   59    ORDER granting 22 27 28 defendants' Motions to Dismiss and denying 41
                   plaintiff's Motion for Leave to File a Second Amended Complaint for the
                   reasons stated in an accompanying Memorandum Opinion (ECF No. 60 ).
                   Signed by Judge Ellen S. Huvelle on October 31, 2019. (AG) (Entered:
                   10/31/2019)
10/31/2019   60    MEMORANDUM OPINION accompanying Order (ECF No. 59 ). Signed by
                   Judge Ellen S. Huvelle on October 31, 2019. (lcmm) (Entered: 10/31/2019)
11/12/2019   61    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 59 Order on Motion to
                   Dismiss,,,, Order on Motion for Leave to File,, Order on Motion to
                   Dismiss/Lack of Jurisdiction,,, by JEROME CORSI. Filing fee $ 505, receipt
                   number ADCDC−6549618. Fee Status: Fee Paid. Parties have been notified.
                   (Klayman, Larry) (Entered: 11/12/2019)




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JEROME CORSI,
Plaintiff,

           v.

ROBERT MUELLER, et al                                Civil Action No. 1:18-cv-02885
Defendants

                                     NOTICE OF APPEAL

       Plaintiff Jerome Corsi (“Plaintiff Corsi”) hereby appeals to the U.S. Court of Appeals for

the District of Columbia Circuit the District Court’s October 31, 2019 order granting

Defendants’ Motion to Dismiss and all other orders averse to Plaintiff Corsi in this matter.

Dated: November 12, 2019                                     Respectfully Submitted,

                                                                /s/ Larry Klayman
                                                             Larry Klayman, Esq.
                                                             KLAYMAN LAW GROUP, P.A.
                                                             D.C. Bar Number: 334581
                                                             2020 Pennsylvania Ave NW #800
                                                             Washington, DC, 20006
                                                             Telephone: (561) 558-5336
                                                             Email: leklayman@gmail.com

                                                             Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

November 12, 2019.


                                                      /s/ Larry Klayman
                                                      Larry Klayman, Esq.




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  JEROME CORSI,

                            Plaintiff,

                 v.                                 Civil Action No. 18-02885 (ESH)

  ROBERT MUELLER, et al.,

                         Defendants.



                                    MEMORANDUM OPINION

       Plaintiff Jerome Corsi brings this action against the Department of Justice; the Federal

Bureau of Investigation; the National Security Agency; the Central Intelligence Agency

(collectively, “the government”); and Robert Mueller, in both his individual capacity and his

official capacity as Special Counsel. Before the Court are defendants’ three motions to dismiss

and plaintiff’s motion for leave to file a second amended complaint in order to add a First

Amendment retaliation count against Mueller in his personal capacity. For the reasons stated

herein, the motions to dismiss will be granted, and the motion to file a second amended

complaint will be denied.

                                         BACKGROUND

  I.   FACTS

       According to the amended complaint, Corsi is an “investigative conservative journalist

and author,” “a strong supporter of President Trump,” and has researched Hillary Clinton’s use

of a private email server to conduct government business while Secretary of State. (Am. Compl.

¶¶ 15–16, 27, ECF No. 15.) The amended complaint alleges that Corsi’s research and political

affiliations prompted the government and Mueller, then-Special Counsel, to attempt “to coerce,



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extort, threaten and/or blackmail Plaintiff Corsi into testifying falsely” before the grand jury

convened to investigate Russian interference in the 2016 U.S. Presidential election. (Id. ¶¶ 20–

22.) Specifically, Corsi claims that “Defendant Mueller and his prosecutorial staff” sought to

force Corsi to testify before the grand jury that Corsi “acted as a liaison between Roger Stone

and Wikileaks leader Julian Assange concerning the public release of emails obtained from the

DNC’s servers.” (Id. ¶ 23.) Corsi allegedly told Mueller that the desired testimony would be

false. (Id. ¶ 22.) Corsi claims that, despite this, “Defendant Mueller . . . threatened to indict

Plaintiff Corsi and effectively put him in federal prison for the rest of his life” if he did not

provide the testimony Mueller wanted. (Id. ¶ 22.)

        Corsi further alleges that “Mueller and his staff have leaked grand jury information to the

press concerning Plaintiff Corsi.” (Id. ¶ 25.) Corsi cites two news articles that, he alleges,

“contain[] confidential information regarding the grand jury proceedings about Plaintiff Corsi

that could only possibly have come from Defendant Mueller.” (Id. ¶ 26; see also id. ¶¶ 26 n.3,

28 n.4.) Corsi also claims that the government and Mueller “have engaged in ongoing illegal,

unconstitutional surveillance on Plaintiff Corsi . . . at the direction of Defendant Mueller.” (Id. ¶

30.) To support this, he alleges that (1) the government “[n]ecessarily” discovered the identity of

his stepson by “intercepting [his] text and other messages;” (2) by using a software that

“prevent[s] the electronic surveillance of telephone conversations,” he “has evidence of repeated

attempts by government authorities to intercept electronically [his] telephone conversations;” and

(3) he “routinely speaks with persons located overseas in regions that are surveilled under

PRISM.” 1 (Id. ¶¶ 31, 33.) Finally, he claims that the government and Mueller interfered with



1
 PRISM is a program established by Section 702 of the Foreign Intelligence Surveillance Act,
50 U.S.C. § 1881a, et. seq. (“FISA”), that allows the government to “use[] selectors—like e-mail
addresses—to collect online communications of non-U.S. persons located abroad.” Montgomery
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his business relationships with his book publisher (Post Hill Press) and his book seller (Amazon),

by threatening them with subpoenas or other legal action, and with Dr. David Jones, Alex Jones,

and InfoWars, by falsely claiming that they were “paying him hush money to keep him quiet

about their actions.” (Id. ¶¶ 60–63.)

       Despite the alleged pressure put on him by defendants, Corsi states that he testified

truthfully before the grand jury. (See id. ¶ 29; see also Pl.’s Opp’n to Mueller’s Mot. at 2, ECF

No. 40 (“Plaintiff Corsi chose to exercise his First Amendment (and moral) right to give a

truthful account of the events of the Russian collusion investigation.”).) And although he alleges

that Mueller threatened to indict him, he has never been indicted. (Hr’g Tr. at 35:4–35:5, Oct. 2,

2019, ECF No. 58 (“Tr.”).) Moreover, Mueller’s investigation concluded on March 22, 2019,

the grand jury has been dismissed, and Mueller has resigned as Special Counsel. (See Pl.’s

Opp’n to Mueller’s Mot. at 4; Mueller’s Mot. to Dismiss at 2, ECF No. 27 (“Mueller’s Mot.”).)

 II.   PROCEDURAL HISTORY

       Corsi initiated this action on December 9, 2018, against the government and Mueller. On

January 21, 2019, he filed an amended complaint, three defendants—Jeff Bezos, the Washington

Post, and a Washington Post reporter. Count One alleges that Mueller and the government

violated the Fourth Amendment and Section 702 of the Foreign Intelligence Surveillance Act, 50

U.S.C. § 1881a, et. seq. (“FISA”), as amended by the USA FREEDOM Act, by conducting

illegal electronic surveillance of Corsi. (Am. Compl. ¶¶ 30, 42–48.) He alleges that Mueller is

personally liable for these violations under Bivens v. Six Unknown Agents, 403 U.S. 388 (1971),



v. Comey, 300 F. Supp. 3d 158, 167 n. 2 (D.D.C. 2018) (citation omitted). But Section 702
explicitly prohibits the government from targeting any person located within the United States or
targeting U.S. citizens abroad. Id.; see also Klayman v. Nat’l Sec. Agency, 280 F. Supp. 3d 39,
44–45 (D.D.C. 2017) (describing the PRISM program).

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and he seeks “compensatory and actual damages, punitive damages, equitable relief, reasonable

attorneys’ fees, pre-judgment interest, [and] post-interest and costs.” (Id. ¶¶ 47–48.) Count

Two, brought only against Mueller, alleges a violation of Federal Rule of Criminal Procedure

6(e)(2). (Id. ¶¶ 49–53.) He specifically requests “preliminary injunctive relief as well as

permanent injunctive relief.” (Id. ¶ 53.) Count Three charges Mueller and the government with

abuse of process for their alleged attempts to coerce Corsi into falsely testifying. (Id. ¶¶ 54–58.)

Count Four alleges that all defendants tortuously interfered with Corsi’s business relationships

with his publisher, book distributor, David and Alex Jones, and InfoWars, for which he seeks

damages. (Id. ¶¶ 59–65.) Finally, Count Five asserts a defamation claim against Bezos, the

Washington Post, and the Washington Post reporter, which alleges that the latter two defendants,

at the direction of Bezos, made defamatory statements about Corsi “to various news and media

outlets.” (Id. ¶¶ 66–72.) These statements, Corsi alleges, concerned the nature of payments he

was receiving from Dr. David Jones, Alex Jones, and InfoWars. (Id. ¶ 67.) Corsi claims that, as

a result, he lost the $15,000 per month he was receiving from InfoWars and the Jonses. (Id.

¶ 69.)

         In his prayer for relief, Corsi seeks “equitable, declaratory, and injunctive relief;” and

general and punitive damages in excess of $1,600,000,000. (Notice of Errata, Ex. 1, ECF No.

16-1 (correcting amended complaint).) Since filing his amended complaint, Corsi has

voluntarily dismissed Bezos, the Washington Post, and the Washington Post reporter. (Notice of

Voluntary Dismissal, ECF No. 56.) Thus, Counts One through Four are the only remaining

counts, and only the government and Mueller are named as defendants.

         The government and Mueller have moved to dismiss Corsi’s amended complaint

pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(5), and 12(b)(6). (See generally



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Gov’t’s Mot. to Dismiss, ECF No. 22 (“Gov’t’s 1st Mot.”); Gov’t’s Mot. to Dismiss Counts III

& IV, ECF No. 28 (“Gov’t’s 2d Mot.”); Mueller’s Mot.) Mueller’s motion includes a

certification from the Attorney General’s designee that certifies that Mueller was acting within

the scope of his office or employment at the time Corsi’s claims arose. (Mueller’s Mot., Ex. A.)

On May 30, 2019, Corsi moved for leave to amend his complaint a second time, seeking to add a

First Amendment retaliation claim against Mueller only. (See generally Pl.’s Mot. for Leave to

File 2d Am. Compl., ECF No. 41 (“Pl.’s Mot.”).) Aside from the additional count, the proposed

complaint is identical to the first amended complaint.

       On October 2, 2019, the Court held a hearing, and it is now ready to rule on defendants’

three motions to dismiss and plaintiff’s motion for leave to file a second amended complaint.



                                            ANALYSIS

  I.   DEFENDANTS’ MOTIONS TO DISMISS

           A. Legal Standards

                       1. Federal Rule of Civil Procedure 12(b)(1)

       Under Federal Rule of Civil Procedure 12(b)(1), the Court must dismiss a claim when it

“lack[s] . . . subject-matter jurisdiction.” The plaintiff bears the burden of showing that

jurisdiction exists. See Khadr v. United States, 529 F.3d 1112, 1115 (D.C. Cir. 2008). Although

the Court must accept the factual allegations in the complaint as true and draw all reasonable

inferences in favor of the non-moving party, the Court need not accept factual inferences that are

unsupported by the facts alleged in the complaint, nor is the Court required to accept the

plaintiff’s legal conclusions. Jerome Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d

1249, 1253–54 (D.C. Cir. 2005) (citing United States v. Gaubert, 499 U.S. 215, 327 (1991));



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Primax Recoveries, Inc. v. Lee, 260 F. Supp. 2d 43, 47 (D.D.C. 2003) (citing Nat’l Treasury

Emps. Union v. United States, 101 F.3d 1423, 1430 (D.C. Cir. 1996)). In determining whether

the plaintiff has met his burden, the Court may consider materials outside of the pleadings.

Jerome Stevens Pharm., Inc., 402 F.3d at 1253 (citing Herbert v. Nat’l Acad. of Scis., 974 F.2d

192, 197 (D.C. Cir. 1992)).

                        2. Federal Rule of Civil Procedure 12(b)(5)

        Under Rule 12(b)(5), which governs service of process, the plaintiff bears the burden of

showing that he has properly effected service. See Light v. Wolf, 816 F.2d 746, 751 (D.C. Cir.

1987). “[H]e must demonstrate that the procedure employed satisfied the requirements of the

relevant portions of Rule 4 and any other applicable provision of law.” Id. (citations and internal

quotation marks omitted). Unless proper service has been effected, the Court lacks personal

jurisdiction over a defendant. Gorman v. Ameritrade Holding Corp., 293 F.3d 506, 514 (D.C.

Cir. 2002).

                        3. Federal Rule of Civil Procedure 12(b)(6)

        To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. (citing Twombly, 550 U.S. at 556). This standard requires “more than a sheer possibility that

a defendant has acted unlawfully.” Id. (citing Twombly, 550 U.S. at 556). Thus, “where the

well-pleaded facts do not permit the court to infer more than the mere possibility of misconduct,

the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Id.



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at 679 (quoting Fed. R. Civ. P. 8(a)(2)) (alteration in original). Moreover, while the Court takes

a plaintiff’s factual allegations as true, it is not required to accept his legal conclusions as such.

Id. at 678 (citing Twombly, 550 U.S. at 555). In considering a motion to dismiss under this Rule,

the Court may consider the allegations made within the four corners of the plaintiff’s complaint,

“any documents either attached to or incorporated in the complaint[,] and matters of which [it]

may take judicial notice.” See EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624

(D.C. Cir. 1997).

            B. The Service of Process on Mueller was Insufficient

        In his motion to dismiss, Mueller argues that Corsi failed to serve him in accordance with

Federal Rule of Civil Procedure 4, and, therefore, all claims against him must be dismissed. (See

Mueller’s Mot. at 9–10.) Because Corsi has sued Mueller in his individual capacity, Corsi was

required to serve Mueller in accordance with Rule 4(e). 2 See Fed. R. Civ. P. 4(i)(3) (“To serve a

United States officer or employee sued in an individual capacity . . . , a party must serve the

United States and also serve the officer or employee under Rule 4(e), (f), or (g).”). Thus, service

must have been accomplished by either: (1) “delivering” the requisite documents “to the

individual personally,” (2) leaving . . . cop[ies] . . . at the individual’s dwelling or usual place of

abode with someone of suitable age and discretion who resides there,” or (3) “delivering . . .

cop[ies] . . . to an agent authorized by appointment or by law to receive service of process.” Fed.

R. Civ. P. 4(e); D.C. Super. Ct. Civ. R. 4(e)(2). Moreover, under Rule 4(m), service must have

occurred within 90 days of the filing of the original complaint. Corsi’s original complaint was

filed on December 9, 2018, so he was required to serve Mueller on or before March 11, 2019.



2
  Rule 4(e) governs service of an individual in the United States who is not a minor or
incompetent person.

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Corsi never even attempted to serve Mueller before March 11, nor did he request an extension of

time for service. Instead, Corsi claims that he subsequently attempted to serve Mueller twice,

once on April 12, 2019, through employees at the Office of Special Counsel, 3 and again on April

17, 2019, at the Department of Justice. (Pl.’s Opp’n to Mueller’s Mot. at 3–4.) Without offering

any proof of service, Corsi asserts that “service was . . . effected on April 17, 2019[,] through the

Department of Justice.” (Id. at 4.)

       Corsi has failed to meet his burden of establishing that service was effected in accordance

with either the timeliness or manner requirements of Rule 4. With regard to the former, Corsi

made no attempt to serve Mueller within 90 days (by March 11, 2019). Instead, his first attempt,

which was unsuccessful, came a month later, and his second attempt occurred 38 days after the

time for service had expired. (See id. at 3–4.) While Rule 4(m) requires the Court to extend the

time for service if the plaintiff shows good cause for his failure to serve, “[a] plaintiff must

employ a reasonable amount of diligence in determining . . . how to effect service before good

cause . . . may be found.” Anderson v. Gates, 20 F. Supp. 3d 114, 121 (D.D.C. 2013) (citation

and internal quotation marks omitted). Corsi’s failure to request an extension of the time for

service has been considered by some courts to be indicative of a lack of good cause. See, e.g.,

Etheredge-Brown v. Am. Media, Inc., No. 13-cv-1982, 2015 WL 4877298, at *2 (S.D.N.Y. Aug.

14, 2015) (collecting cases); Falconer v. Gibsons Rest. Grp., No. 10 C 1013, 2011 WL 833613,

at *3 (N.D. Ill. Mar. 4, 2011) (declining to afford the plaintiff an extension where he did not

request one); Montcastle v. Am. Health Sys., Inc., 702 F. Supp. 1369, 1377 n.4 (E.D. Tenn. 1988)

(noting that “plaintiff’s counsel never requested an extension of time in which to effect service”).


3
  Mueller notes that Corsi’s process server went to the U.S. Office of Special Counsel, which is
an independent agency unrelated to Mueller’s investigation. (Reply in Supp. of Mueller’s Mot.
at 2 n.2, ECF No. 50; see also Aff. of Process Server, ECF No. 40-1.)

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In a feeble attempt to show cause, Corsi claims, without any evidentiary support, that “[a]ny

short delay in serving Defendant Mueller was caused by difficulties locating him due to his

occupation and his being effectively in hiding.” (Pl.’s Opp’n to Mueller’s Mot. at 4.) However,

the first attempt at service was not made until after the 90 days had expired. Given the

undisputed facts, there is no basis for finding good cause.

       Corsi has also failed to show that he served Mueller as required by Rule 4. Corsi’s mere

statement that Mueller was served “through the Department of Justice” is insufficient under Rule

4(e)(2), since co-workers and employees are not automatically authorized agents for purposes of

service. See Ilaw v. Dep’t of Justice, 309 F.R.D. 101, 105 n.3 (D.D.C. 2015) (service of process

is invalid where co-workers or employees are not specifically authorized to accept service); see

also Yi Tai Shao v. Roberts, No. 18-1233, 2019 WL 249855, at *8 (D.D.C. Jan. 17, 2019)

(plaintiff failed to establish service of process when she served defendants’ employees, even

though plaintiff alleged that the employees claimed to be authorized to accept service). Thus,

Corsi has failed to show that he accomplished proper service.

       Corsi asks the Court to overlook this failure because “it is clear that Defendant Mueller

and his attorneys have received notice of this lawsuit, as evidenced by the filing of this instant

motion.” (Pl.’s Opp’n to Mueller’s Mot. at 4.) But “simply being on notice of a lawsuit cannot

cure an otherwise defective service.” United States ex rel. Cody v. Computer Scis. Corp., 246

F.R.D. 22, 26 (D.D.C. 2007) (citations and internal quotation marks omitted); see also Mann v.

Castiel, 681 F.3d 368, 372 (D.C. Cir. 2012) (“Service is . . . not only a means of notifying a

defendant of the commencement of an action against him, but a ritual that marks the court’s

assertion of jurisdiction over the lawsuit.” (citation and internal quotation marks omitted)).




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       Since Corsi has not served Mueller in accordance with Rule 4, his claims against Mueller

in his individual capacity will be dismissed without prejudice. But because Mueller’s other

arguments for dismissal are meritorious and provide a basis for dismissal with prejudice, the

Court will consider those as well. See Simpkins v. District of Columbia, 108 F.3d 366, 369–70

(D.C. Cir. 1997) (holding that the district court was allowed to proceed to evaluate the merits of

the plaintiff’s Bivens claims even though it held that service of process had not been

accomplished); Dominguez v. District of Columbia, 536 F. Supp. 2d 18, 22 (D.D.C. 2008) (“If

dismissing the claim without prejudice due to insufficient service would lead to the refiling of a

meritless claim, however, our Circuit has held that it is proper to consider other means of

dismissing the case.”).

           C. Corsi’s Fourth Amendment Claims

       The first count of Corsi’s amended complaint alleges that both Mueller and the

government conducted “illegal and unconstitutional surveillance” of Corsi in violation of the

Fourth Amendment and Section 702 of FISA, 50 U.S.C. § 1881a. (Am. Compl. ¶¶ 30–33, 42–

48.) Corsi claims that the government “[n]ecessarily” identified his stepson by “intercepting

[Corsi’s] text and other messages,” since his stepson does not share a name with Corsi. (Am.

Compl. ¶ 31.) Corsi also alleges that “[a]uthor Jim Garrow, who resides in Toronto, Canada, and

has developed a ‘DEAF’ system to prevent the electronic surveillance of telephone conversations

has applied DEAF to Plaintiff Corsi’s cellphone and has evidence of repeated attempts by

government authorities to intercept electronically Plaintiff Corsi’s telephone conversations.”

(Id.) To support his claim that defendants intercepted his communications with his contacts

abroad in violation of FISA, he alleges that he “routinely speaks with persons located overseas in

regions that are surveilled under PRISM.” (Am. Compl. ¶ 33.) Corsi claims that the defendants



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conducted this surveillance “to coerce, extort, threaten and/or blackmail him into submission to

provide false sworn testimony to be used to attempt to indict and/or remove the current president

of the United States.” (Id. ¶ 45.)

       The government argues that this Court lacks jurisdiction under Rule 12(b)(1) because

Corsi lacks standing. (See Gov’t’s 1st Mot. at 10–14.) And Mueller argues, inter alia, that Corsi

has failed to state a claim under Bivens and that Bivens should not be extended to his claim. (See

Mueller’s Mot. at 13–32; Reply in Supp. of Mueller’s Mot. at 7–9.) All of these arguments are

persuasive.

                   1. Corsi Lacks Standing to Bring Count One

       As a threshold matter, the Court considers whether Corsi has alleged sufficient facts to

establish standing. The party invoking federal jurisdiction has the burden of establishing

standing by showing that (1) he suffered an injury in fact, (2) the injury is “fairly traceable” to

the defendant’s conduct, and (3) it is likely redressable by a favorable judicial decision. Spokeo,

Inc. v. Robbins, 136 S. Ct. 1540, 1547 (2016) (citation omitted). To satisfy the first element, the

alleged injury must be “(1) concrete, (2) particularized, and (3) actual or imminent.” Food &

Water Watch, Inc. v. Vilsack, 808 F.3d 905, 914 (D.C. Cir. 2015) (citation and internal quotation

marks omitted). And, “[a]n actual or imminent injury is certainly impending and immediate—

not remote, speculative, conjectural, or hypothetical.” Id. (citation and internal quotation marks

omitted).

       Corsi fails to plead an actual or imminent injury. His claim regarding FISA is foreclosed

by the Supreme Court’s ruling in Clapper, where the plaintiffs sought an injunction to prevent

the government from conducting surveillance under Section 702 of FISA. Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 410 (2013). They alleged that “they communicate by telephone and e-



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mail with people the Government ‘believes or believed to be associated with terrorist

organizations,’ ‘people located in geographic areas that are a special focus’ of the Government’s

counterterrorism or diplomatic efforts, and activists who oppose governments that are supported

by the United States Government.” Id. at 406. Based on these allegations, they argued that they

had standing “because there is an objectively reasonable likelihood that their communications

will be acquired under [Section 702] at some point in the future.” Id. at 401. But the Supreme

Court disagreed, concluding that they failed to show an imminent injury because their claims

“relie[d] on a highly attenuated chain of possibilities”: that (1) their foreign contacts would be

targeted, (2) the government would do so under [Section 702], (3) a court would authorize such

surveillance, (4) the government would successfully obtain the contacts’ communications, and

(5) those communications would include communications with the plaintiffs. See id. at 410–14.

Thus, the Court held that allegations of communications with foreign nationals who may be

monitored under Section 702 do not suffice to establish an injury. See id. at 414.

       In disregard of this ruling, plaintiff’s counsel, Larry Klayman, has on multiple occasions

attempted to bring claims of illegal surveillance identical to or even more deficient than the

claims alleged by the plaintiffs in Clapper. In Klayman v. Obama, plaintiff’s counsel,

representing himself and other plaintiffs, alleged that the government had targeted the plaintiffs’

communications using the PRISM program. 957 F. Supp. 2d 1, 8 n.6 (D.D.C. 2013), vacated

and remanded on other grounds, 800 F.3d 559 (D.C. Cir. 2015). The district court held that the

plaintiffs lacked standing to bring this claim, noting that “plaintiffs here have not even alleged

that they communicate with anyone outside the United States at all,” making their claims “even

less colorable than those of the plaintiffs in Clapper.” Id.




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        Undeterred, plaintiff’s counsel filed a separate complaint, again on behalf of himself and

other plaintiffs and again alleging that the plaintiffs’ communications were being illegally

collected via the PRISM program. See Klayman v. Nat’l Sec. Agency, 280 F. Supp. 3d 39, 55–56

(D.D.C. 2017). This time, the complaint alleged that plaintiff’s counsel “frequents and routinely

telephones and e-mails individuals and high-ranking government officials in Israel, a high-

conflict area where the threat of terrorism is always present”; that he met and communicated

“with persons in Israel, Spain, the United Kingdom, and several other European nations which

have very large Muslim populations and where terrorist cells are located”; and that, while

“participating in a radio interview about the NSA, . . . the show experienced a tech meltdown.”

Id. at 56 (internal quotation marks omitted). The complaint also alleged that other plaintiffs

“make telephone calls and send and receive e-mails to and from foreign countries and . . . have

received threatening e-mails and texts from overseas, in particular Afghanistan.” Id. (internal

quotation marks omitted). Despite plaintiff’s counsel’s efforts to overcome the lack of standing

found in his prior litigation, the district court held that “plaintiffs’ allegations remain plainly

insufficient under the standard the Supreme Court articulated in Clapper.” Id. The court found

plaintiffs’ allegations that they communicated with individuals in foreign countries to “fall far

short even of the Clapper plaintiffs’ allegations.” Id. at 57. The court also held that “[plaintiff’s

counsel’s] assertions that his foreign contacts have, in fact, been targeted by the Government

under the PRISM program ‘are necessarily conjectural,’ because the identities of PRISM targets

are classified.” Id. (quoting Clapper, 568 U.S. at 412). The D.C. Circuit affirmed, ruling that:

                Appellants here allege no more than that they communicate with
                various individuals in countries Appellants imagine might attract
                government surveillance. They provide no more specific reason to
                suspect their contacts are targets of the PRISM program or that
                their own communications will be collected. They therefore have



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               failed to allege the kind of actual or imminent injury required by
               Clapper.
Klayman v. Obama, 759 F. App’x 1, 4 (D.C. Cir. 2019) (per curiam).

       Most recently, in Montgomery v. Comey, plaintiff’s counsel again raised the same claim

of illegal surveillance through the PRISM program on behalf of himself and another plaintiff.

300 F. Supp. 3d 158, 166–67 (D.D.C. 2018). Plaintiff’s counsel alleged that he “made

international phone calls and exchanged correspondence with individuals located in foreign

nations within the past two years.” Montgomery v. Comey, 752 F. App’x 3, 4 (D.C. Cir. 2019)

(per curiam). The district court again relied on Clapper to dismiss the plaintiffs’ PRISM

surveillance claim. 300 F. Supp. 3d at 167–68. The D.C. Circuit affirmed, holding that

plaintiff’s counsel’s single allegation “without elaboration” was a “threadbare claim . . .

inadequate under Clapper.” Montgomery v. Comey, 752 F. App’x at 4.

       Despite the fact that his prior claims of illegal surveillance under PRISM have

consistently been rejected, plaintiff’s counsel persists with an even more deficient allegation

here—that Corsi “routinely speaks with persons located overseas in regions that are surveilled

under PRISM.” (Am. Com. ¶ 33.) This type of claim has been rejected by the Supreme Court in

Clapper and in the three cases that plaintiff’s counsel has brought in this Court. Accordingly,

there is no basis for the Court to find standing in this case.

       Corsi’s Fourth Amendment claim fares no better. His assertion that the government

discovered the identity of his stepson by intercepting his electronic communications relies on

nothing but speculation. (Am. Compl. ¶ 31.) As Corsi cannot show that the government actually

intercepted his communications, as opposed to using other investigative methods that would not

implicate his Fourth Amendment rights, he has no basis to support an inference of standing. See,

e.g., Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015).


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       Similarly, he claims to have evidence that the government has attempted to intercept his

cellphone conversations. Corsi fails, however, to allege an injury because there is no claim that

the government successfully intercepted any of his conversations. Instead, he only describes

attempts. Moreover, he concedes that the software used to detect these attempts “prevent[s] the

electronic surveillance of telephone conversations” and has been “applied” to his phone. (Am.

Compl. ¶ 31 (emphasis added).) Corsi again asks the Court to draw purely speculative

inferences, unsupported by the allegations in his complaint, to conclude that the government has

violated his Fourth Amendment rights. He has, therefore, failed to show any injury that is actual

or imminent. 4 Accordingly, Count One of Corsi’s amended complaint will be dismissed without

prejudice for lack of standing. 5

                   2. Corsi Fails to State a Bivens Claim Against Mueller

       In addition to a lack of standing, Corsi fails to state a claim against Mueller in his

individual capacity, for he does not allege personal involvement on the part of Mueller. It is well

established that “Bivens claims cannot rest merely on respondeat superior.” Simpkins, 108 F.3d

at 369 (citation omitted); see also Iqbal, 556 U.S. at 676 (“Government officials may not be held

liable for the unconstitutional conduct of their subordinates under a theory of respondeat



4
  Corsi appears to argue that there is standing because there is a threat of future injury. (See Am.
Compl. ¶ 30 (“Defendants . . . have engaged in ongoing illegal, unconstitutional surveillance on
Plaintiff Corsi . . . .” (emphasis added)); Pl.’s Opp’n to Mueller’s Mot. at 2–3 (“[I]t is incumbent
upon this Court to act . . . as a deterrent to future unconstitutional and illegal conduct.”).) But his
claims of illegal surveillance are tied to Mueller’s investigation, which, he concedes, has ended.
Thus, there is no evidence of a threat of future injury.
5
  To the extent that Corsi seeks injunctive relief against the government, he cannot show
imminent harm. See infra at Section I.D.; Wis. Gas Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C.
Cir. 1985) (“Injunctive relief ‘will not be granted against something merely feared as liable to
occur at some indefinite time.’” (quoting Connecticut v. Massachusetts, 282 U.S. 660, 674
(1931)).

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superior.”). Instead, “a plaintiff must plead that each Government-official defendant, through

the official’s own individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676

(emphasis added); see also Simpkins, 108 F.3d at 369 (“The complaint must at least allege that

the defendant federal official was personally involved in the illegal conduct.”). Instead of

alleging any individualized conduct by Mueller, Corsi baldly asserts, without factual support,

that any alleged violations took place “at the direction of Defendant Mueller.” (Am. Compl. ¶

30; see also id. ¶ 32 (“This illegal and unconstitutional surveillance is being carried out . . . at the

direction of Mueller . . . .”).) But “to show that . . . action was taken at the direction of another

requires more than just the conclusion that this is what occurred.” Acosta Orellana v. CropLife

Inter., 711 F. Supp. 2d 81, 112 (D.D.C. 2010).

        At the hearing, when asked what facts in the complaint supported the allegation that

Mueller directed his subordinates to violate Corsi’s constitutional rights, plaintiff’s counsel cited

only to “the mandate that [Mueller] got from the Department of Justice which puts him in

charge.” (Tr. at 9:5–9:6.) This, he claimed, shows that Mueller “is responsible for what goes on

in the office,” he “is the guy in charge,” and “[t]he buck stops on his desk.” 6 (Id. at 7:5–7:6,

9:7–9:8.) When asked for facts beyond the mandate, plaintiff’s counsel replied, “I’ve been a

lawyer for 42 years. I’ve been in Washington for many years. I know the way things work in

Washington.” (Id. at 10:18–10:20.) Neither the mandate nor plaintiff’s counsel’s personal

experience will suffice to hold Mueller personally liable. Thus, Count One does not properly

state a Bivens claim against Mueller.




6
 At the hearing, plaintiff’s counsel also advocated for the legally incorrect position that there is
respondeat superior liability under Bivens. (Tr. at 7:7–7:12.)

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                   3. Corsi’s Claim Presents a New Bivens Context and Special Factors
                      Counsel Against Recognizing a Bivens Claim in This Case
       In Bivens, the Supreme Court allowed a victim of a warrantless search and seizure with

no alternative remedies to sue a federal official personally for damages for an allegedly abusive

search and arrest in his home. Bivens, 403 U.S. at 389. But since then the Court “has made clear

that expanding the Bivens remedy is now a ‘disfavored’ judicial activity,” Ziglar v. Abbasi, 137

S. Ct. 1843, 1857 (2017) (citation omitted), and no case has extended Bivens to warrantless

wiretaps. In fact, several courts have expressly declined to do so based on “alternative, existing

process[es].” Wilkie v. Robbins, 551 U.S. 537, 550 (2007); see, e.g., Attkisson v. Holder, 925

F.3d 606, 621–22 (4th Cir. 2019) (declining to extend Bivens to alleged illegal electronic

surveillance because “Congress has legislated extensively in the area of electronic surveillance

and intrusions into electronic devices without authorizing damages for a Fourth Amendment

violation in such circumstances”); Brunoehler v. Tarwater, 743 F. App’x 740, 742–43 (9th Cir.

2018) (declining to extend Bivens to an alleged illegal wiretap in part because the Wiretap Act

provides an alternative remedial structure); Kelley v. FBI, 67 F. Supp. 3d 240, 270–72 (D.D.C.

2014) (declining to extend Bivens in part because the alleged unlawful search and seizure of the

plaintiff’s emails is redressable under the Electronic Communications Privacy Act); see also

Mitchell v. Forsyth, 472 U.S. 511, 542 (1985) (Stevens, J., concurring) (“[I]t is highly doubtful

whether the rationale of Bivens . . . even supports an implied cause of action for damages after

Congress has enacted legislation comprehensively regulating the field of electronic surveillance

but has specifically declined to impose a remedy for [a specific type of wiretap].”). These

remedies include the Wiretap Act, which provides equitable and declaratory relief, money

damages, and fees to “any person whose wire, oral, or electronic communication is intercepted,

disclosed, or intentionally used” unlawfully, 18 U.S.C. §§ 2511, 2520(a), (b); the Stored


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Communications Act, which imposes civil penalties upon those who “intentionally accesses

without authorization a facility through which an electronic communication service is provided .

. . or . . . intentionally exceeds an authorization to access that facility . . . [,] and thereby obtains,

alters, or prevents authorized access to a wire or electronic communication while it is in

electronic storage in such system,” 18 U.S.C. §§ 2701, 2707; and FISA, which provides a private

right of action against the United States for money damages to persons aggrieved by unlawful

use or disclosure of their communications, 18 U.S.C. § 2712. See also Attkisson, 925 F.3d at

621–22.

        Corsi offers nothing to rebut these cases; instead, he relies on Carpenter v. United States,

138 S. Ct. 2206 (2018), to argue that a Bivens action exists to remedy the violation he alleges.

(Pl.’s Opp’n to Mueller’s Mot. at 9–11.) But Carpenter is neither a Bivens case nor is it about

illegal surveillance of cellular communications. Instead, it addressed the need for a warrant to

obtain a defendant’s cell phone location data. See Carpenter, 138 S. Ct. at 2211; see also id. at

2220 (“Our decision today is a narrow one. We do not express a view on matters not before us

. . . .”). Whether the Fourth Amendment imposes a warrant requirement for cell data tells us

nothing about Mueller’s personal liability under Bivens for alleged violations of FISA and the

wiretap laws.

        Despite the existence of these statutes, Corsi claims that no alternative remedy exists for

the particular constitutional violation he alleges. (Pl.’s Opp’n to Mueller’s Mot. at 12–13.) Even

if that were true—which it is not—it is not dispositive. Indeed, the relevant analysis “does not

turn on whether the statute provides a remedy to the particular plaintiff for the particular claim he

or she wishes to pursue.” Wilson v. Libby, 535 F.3d 697, 709 (D.C. Cir. 2008); see also id. (“[A]

comprehensive statutory scheme precludes a Bivens remedy even when the scheme provides the



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plaintiff with no remedy whatsoever.” (citation and internal quotation marks omitted)). “Instead,

it is the ‘comprehensiveness of the statutory scheme involved, not the ‘adequacy’ of specific

remedies extended thereunder, that counsels judicial abstention.’” Jangjoo v. Sieg, 319 F. Supp.

3d 207, 218 (D.D.C. 2018) (quoting Spagnola v. Mathis, 859 F.2d 223, 227 (D.C. Cir. 1988)).

Where “Congress has put in place a comprehensive system to administer public rights, has not

inadvertently omitted damages remedies for certain claimants, and has not plainly expressed an

intention that the courts preserve Bivens remedies, we cannot create additional remedies.”

Wilson, 535 F.3d at 709–10 (citation and internal quotation marks omitted). Thus, in the area of

electronic surveillance, Congress, not the Court, “should decide whether [the remedy sought by

Corsi] should be provided.” Liff v. Office of Inspector Gen., 881 F.3d 912, 918 (D.C. Cir. 2018);

see also Davis v. Billington, 681 F.3d 377, 387 (D.C. Cir. 2012) (listing cases denying a Bivens

claim even where an alternative remedial scheme did not provide the plaintiff with any relief for

the alleged constitutional violations). 7

        Accordingly, Corsi has failed to state a claim in Count One against Muller in his

individual capacity, and the Court will dismiss that claim with prejudice.




7
  There is also a meritorious argument that Mueller is entitled to qualified immunity on Count
One. “Qualified immunity shields federal and state officials from money damages unless a
plaintiff pleads facts showing (1) that the official violated a statutory or constitutional right, and
(2) that the right was ‘clearly established’ at the time of the challenged conduct.” Ashcroft v. al-
Kidd, 563 U.S. 731, 735 (2011) (citation omitted). To satisfy the latter prong, a plaintiff must
identify “existing precedent [that] place[s] the statutory or constitutional question beyond
debate.” Id. at 741. This has not been done. See Attkisson, 925 F.3d at 623. And, even where
“courts are divided on an issue so central to the cause of action alleged, a reasonable official
lacks the notice required before imposing liability.” Abbasi, 137 S. Ct. at 1868; see also infra at
Section II.C.

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           D. Corsi Has No Cause of Action Under Federal Rule of Criminal Procedure
              6(e)(2)
       Count Two of Corsi’s amended complaint, brought against only Mueller, alleges that

Mueller violated Federal Rule of Criminal Procedure 6(e)(2), which prohibits disclosure of

matters occurring before a grand jury. 8 See Fed. R. Crim. P. 6(e)(2)(vi). Corsi complains that

“Defendant Mueller and his staff have leaked grand jury information to the press concerning

Plaintiff Corsi” with the intent “to pressure Plaintiff Corsi into providing . . . false sworn

testimony” and “to send a message to other supporters of the president that they had best comply

with the unlawful demands of Defendant Mueller and his prosecutorial staff or be indicted or at

the least be irreparably smeared and destroyed in the public domain.” (Am. Compl. ¶¶ 25, 52.)

Corsi attempts to support his claim by reference to two news articles that, he alleges, “contain[]

confidential information regarding the grand jury proceedings about Plaintiff Corsi that could

only possibly have come from Defendant Mueller.” 9 (Id. ¶ 26; see also id. ¶¶ 26 n.3, 27 n.4.)

The first reports that Corsi was scheduled to appear before the grand jury for a second time and

states, “Corsi has emerged as a central figure of interest to Mueller as he builds his case, sources

confirm to ABC News.” Ali Dukakis, Conspiracy theorist becomes key figure as Mueller builds

case, ABC News (Oct. 31, 2018, 6:39 p.m.), https://abcnews.go.com/Politics/conspiracy-

theorist-key-figure-mueller-builds-case/story?id=58886291 (the “ABC News Article”). With

regard to Mueller’s investigation, the article reports that:

               Mueller’s interest in Corsi is believed to stem from his alleged
               early discussions about efforts to unearth then-candidate Hillary

8
 Corsi has reaffirmed that this count is not brought as a Bivens action. (Pl.’s Opp’n to Mueller’s
Mot. at 8 n.1.)
9
 In addition to these articles, Corsi refers generally to “a major leak concerning President
Donald J. Trump . . . made by Defendant Mueller to BuzzFeed,” but he does not contend that it
has any relevance to his claims. (Am. Compl. ¶ 26.)

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               Clinton’s emails. The special counsel has evidence that suggests
               Corsi may have had advance knowledge that the email account of
               Clinton’s campaign manager, John Podesta, had been hacked and
               that WikiLeaks had obtained a trove of damning emails from it,
               two sources with direct knowledge of the matter told ABC News.
Id. The remainder of the article provides general background information on Corsi. See id.

       The second article cited by Corsi reports that Corsi helped to raise $25,000 to pay for an

Alaskan man’s cancer treatment by a doctor “who doesn’t appear to exist.” Chuck Ross, Mueller

Target Raised $25,000 In Charity To Pay Cancer Doctor Who Doesn’t Appear To Exist, Daily

Caller (Dec. 13, 2018, 10:26 p.m.), https://dailycaller.com/2018/12/13/corsi-mueller-doctor-

cancer/ (the “Daily Caller Article”). With regard to Mueller’s investigation, the article notes that

Corsi was subpoenaed by Mueller and states:

               Mueller is interested in Corsi’s links to Trump confidant Roger
               Stone and WikiLeaks. Corsi claimed Mueller wants him to testify
               that he was a link between Stone and WikiLeaks, which on Oct. 7,
               2016, published emails stolen from Clinton campaign chairman
               John Podesta.
Id. Corsi alleges that the author of this article “told Dr. Corsi that he indeed had obtained

information about this grand jury testimony from persons working under the direction of . . .

Mueller.” (Am. Compl. ¶ 28.)

       According to his amended complaint, Corsi seeks only injunctive relief to remedy these

putative violations. (Am. Compl. ¶ 53.) At oral argument, plaintiff’s counsel asserted that

Count Two names Mueller in both his individual and official capacities. (Tr. at 21:8–10.) But

injunctive relief is not available against officials in their personal capacities. BEG Invs. v.

Alberti, 34 F. Supp. 3d 68, 80 (D.D.C. 2014) (“Courts have concluded that there is no basis for

suing a government official for declaratory and injunctive relief in his or her individual or

personal capacity.” (citations and internal quotation marks omitted)); see also Hatfill v.

Gonzales, 519 F. Supp. 2d 13, 26 (D.D.C. 2007) (denying injunctive relief from the defendants

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in their individual capacities and reasoning that the relief sought “can only be provided by the

government through government employees acting in their official capacities because

deprivation of a constitutional right can only be remedied by the government”).

           Corsi has also failed to show that he is entitled to an injunction against Mueller in his

official capacity. “Injunctive relief is an ‘extraordinary and drastic’ remedy, which is available

only upon an evidentiary showing of ‘certain,’ ‘great,’ and imminent harm.” 12 Percent

Logistics, Inc. v. Unified Carrier Registration Plan Bd., 289 F. Supp. 3d 73, 79 (D.D.C. 2018)

(quoting Munaf v. Geren, 553 U.S. 674, 689 (2008), and Wis. Gas Co., 758 F.2d at 674).

Mueller’s investigation has ended, and the grand jury is no longer in existence. The only

imminent harm he now asserts is a fear of future grand jury leaks, based on his predictions that

“[s]tuff [will] start flying out of files again.” (Tr. at 44:22.) But this speculative harm cannot

suffice.

           Corsi changed his tune at the hearing, and he now seeks to hold Mueller in civil

contempt. (Id. at 21:12.) While civil contempt is available to remedy violations of Rule 6(e)(2),

a plaintiff only has “a very limited right to seek [that relief] through the district court supervising

the grand jury.” In re Sealed Case No. 98-3077, 151 F.3d 1059, 1070 (D.C. Cir. 1998) (citation

and internal quotation marks omitted); Finn v. Schiller, 72 F.3d 1182, 1188 (4th Cir. 1996) (a

Rule 6(e) plaintiff “may not proceed by way of a civil action against the alleged violator”);

Blalock v. United States, 844 F.2d 1546, 1550 (11th Cir. 1988) (“[T]here is no such thing as an

independent cause of action for civil contempt.”); In re Grand Jury Investigation (Lance), 610

F.2d 202, 213 (5th Cir. 1980) (allowing the target of a grand jury investigation to bring a

complaint before the judge supervising the grand jury); Camm v. Kennickell, No. 85-3844, 1990

WL 198621, at *7 (D.D.C. Nov. 20, 1990) (holding that there is no Bivens action for a Rule 6(e)



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violation), aff’d, 946 F.2d 1563 (D.C. Cir. 1991) (per curiam). Plaintiff’s counsel acknowledged

the existence of such a procedure and admitted that he attempted to go to Chief Judge Howell,

who supervised the grand jury investigation. (Tr. at 21:16–21:19, 42:17–42:19.) According to

plaintiff’s counsel, the Chief Judge “never responded to [his] communication,” and although he

agreed that he may still file a complaint before her, he claims that doing so will not have any

effect because “nothing works in this town any more [sic] when you are dealing with someone

like Robert Mueller.” (Id. at 21:18–21:19, 44:7–44:9.) To solve this dilemma, he now asks this

Court to either refer the matter to Chief Judge Howell or to find Mueller in contempt. (Id. at

21:13–21:15, 21:23–22:1, 42:3–42:6.) This Court will not do either; there is an established

procedure for addressing alleged Rule 6(e)(2) violations, and, having failed before the grand jury

judge, Corsi cannot seek relief from this Court.

       There is also a serious question as to whether the allegations in Corsi’s complaint

constitute a Rule 6(e)(2) violation. “[A] prima facie case of a violation of Rule 6(e)(2) is made

when the media reports disclosed information about ‘matters occurring before the grand jury’

and indicated that the sources of the information included attorneys and agents of the

Government.” In re Sealed Case No. 98-3077, 151 F.3d at 1067 (citation omitted) (emphasis

added). Moreover, the information disclosed by a prosecutor must “directly reveal grand jury

matters.” In re Sealed Case No. 99-3091, 192 F.3d 995, 1002 (D.C. Cir. 1999). A prosecutor’s

statement about her own investigation, rather than a grand jury’s investigation, does not

implicate the rule. Id.

       The articles cited by Corsi neither “directly reveal grand jury matters,” nor indicate that

the source of the information is Mueller or his staff. The ABC News Article article merely

suggests a reason for Mueller’s interest in Corsi and asserts that he has evidence that may prove



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a fact but does not reveal what that evidence is. The article explicitly references Mueller’s

“case,” indicating that the information relates to his investigation and not to the grand jury’s

investigation. 10 Moreover, the article does not attribute any information to Mueller or anyone

else associated with the grand jury investigation.

        Corsi alleges that the Daily Caller Article contains information on matters occurring

before the grand jury because it “report[s] . . . that a physician known as Dr. Mendelsohn and

others who received cancer treatment by him . . . were subpoenaed to appear before the Mueller

grand jury.” (Am. Compl. ¶ 28.) But this allegation is flatly contradicted by the article, which

names only Corsi, and no one else, as having been subpoenaed by the grand jury. And the article

identifies Corsi, not Mueller or his staff, as the source of that information. 11

            E. Corsi Cannot Bring Claims for Abuse of Process and Tortious Interference
               with Business Relationships
        Counts Three and Four of Corsi’s amended complaint allege abuse of process and

tortious interference with business relationships against all defendants. (See Am. Compl. ¶¶ 54–

65.) Specifically, Count Three alleges that defendants “abused and perverted the Court’s judicial

processes by threatening Plaintiff Corsi with prosecution and prison if he did not provide sworn

testimony that Defendants knew to be false . . . .” (Id. ¶ 55.) He also claims that “Mueller has . .


10
   Corsi argues that such a distinction is one without meaning. (See Pl.’s Opp’n to Gov’t’s Mots.
at 9–10, ECF No. 34.) But the D.C. Circuit disagrees, finding that the distinction between a
prosecutor’s investigation and that of a grand jury is “a distinction of the utmost significance.”
In re Sealed Case No. 99-3091, 192 F.3d at 1002.
11
  To circumvent this problem, Corsi asks us to rely on his assertion that the author of this article
“told Dr. Corsi that he indeed had obtained information about this grand jury testimony from
persons working under the direction of Special Counsel Robert Mueller.” (Am. Compl. ¶ 28; see
also Pl.’s Opp’n to Gov’t’s Mots. at 9.) But, as Corsi concedes, whether a plaintiff establishes a
prima facie violation of Rule 6(e)(2) is “typically . . . based solely on an assessment of news
articles submitted by the plaintiff.” (Pl.’s Opp’n to Gov’t’s Mots. at 9 (quoting In re Sealed Case
No. 98-3077, 151 F.3d at 1067) (internal quotation marks omitted).)

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. abused this Court’s grand jury and other legal processes by subpoenaing, without any

reasonable or probable cause, members of Plaintiff’s family . . . to appear before the grand jury

and/or to be interviewed by his FBI agents . . . .” (Id. ¶ 57.) Count Four alleges that defendants

                 intentionally and/or negligently tortuously [sic] interfered with
                 Plaintiff’s existing business relationships by recently threatening
                 one or more of these publishers and sellers of his book with a
                 subpoena or other legal action and by threatening and intimidating
                 and having published and publishing false information [about] Dr.
                 David Jones, Alex Jones, InfoWars and Plaintiff Corsi, maliciously
                 and falsely claiming that Dr. David Jones, Alex Jones and
                 InfoWars was [sic] paying hush money to keep him quiet about
                 their actions, with the intent to get them to terminate their business
                 relationships with Plaintiff, thus depriving Plaintiff of income to
                 pay his legal fees and expenses as well as for him and his family to
                 survive generally.
(Id. ¶ 63.)

         Mueller argues that these claims may not be brought against him because the government

has certified that he was acting within the scope of his employment, and, thus, under 28 U.S.C. §

2679(b)(1), he must be dismissed from the suit. 12 (See Mueller’s Mot. at 12–13.) The

government argues that the claims must be dismissed for lack of subject-matter jurisdiction

because Corsi has not exhausted his administrative remedies, as required by the Federal Tort

Claims Act (the “FTCA”), and the FTCA’s waiver of sovereign immunity excludes claims for




12
     28 U.S.C. § 2679(b)(1) provides:



                 The remedy against the United States provided by sections 1346(b)
                 and 2672 of this title . . . is exclusive of any other civil action or
                 proceeding for money damages . . . . Any other civil action or
                 proceeding for money damages arising out of or relating to the
                 same subject matter against the employee or the employee’s estate
                 is precluded without regard to when the act or omission occurred.

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abuse of process and tortious interference with business relationships. (Gov’t’s 2d Mot. at 3–4.)

The Court agrees.

                    1. Individual Capacity Claims Against Mueller Must Be Dismissed Due
                       to the Westfall Certification
       The Court first considers whether Counts Three and Four may be maintained against

Mueller in his individual capacity. “The Federal Employees Liability Reform and Tort

Compensation Act of 1988, commonly known as the Westfall Act, accords federal employees

absolute immunity from common-law tort claims arising out of acts they undertake in the course

of their official duties.” Osborn v. Haley, 549 U.S. 225, 229 (2007) (citing 28 U.S.C.

§ 2679(b)(1)). When a federal employee is sued for a tort, the Westfall Act authorizes the

Attorney General or his designee to certify that the employee “was acting within the scope of his

office or employment at the time of the incident out of which the claim arose.” 28 U.S.C.

§ 2679(d)(1), (2); see also Osborn, 549 U.S. at 229–30. In general, “[u]pon the Attorney

General’s certification, the employee is dismissed from the action, . . . the United States is

substituted as defendant in place of the employee,” and “[t]he litigation is thereafter governed by

the Federal Tort Claims Act.” Osborn, 549 U.S. at 230.

       Although the Attorney General’s certification “constitutes prima facie evidence that the

employee was acting within the scope of his employment,” a plaintiff may only rebut the

certification and obtain discovery by “alleg[ing] sufficient facts that, taken as true, would

establish that the defendant’s actions exceeded the scope of his employment.” Wuterich v.

Murtha, 562 F.3d 375, 381 (D.C. Cir. 2009) (citations and internal quotation marks omitted). In

determining whether a plaintiff has met this burden, this Court looks to the Restatement (Second)

of Agency, id. at 383, which provides:

               (1) Conduct of a servant is within the scope of employment if, but
               only if:

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               (a) it is of the kind he is employed to perform;
               (b) it occurs substantially within the authorized time and space
               limits;
               (c) it is actuated, at least in part, by a purpose to serve the master,
               and
               (d) if force is intentionally used by the servant against another, the
               use of force is not unexpectable by the master.
               (2) Conduct of a servant is not within the scope of employment if it
               is different in kind from that authorized, far beyond the authorized
               time or space limits, or too little actuated by a purpose to serve the
               master[,]

Restatement (Second) of Agency § 228. This test has been interpreted broadly, such that it “is

akin to asking whether the defendant merely was on duty or on the job when committing the

alleged tort.” Jacobs v. Vrobel, 724 F.3d 217, 221 (D.C. Cir. 2013) (citation omitted). In

determining whether conduct is “of the kind [an employee is] employed to perform,” courts must

“focus on the type of act [the defendant] took that allegedly gave rise to the tort, not the wrongful

character of the act.” Id. at 221 (citation omitted); see also Council on Am. Islamic Relations v.

Ballenger, 444 F.3d 659, 664 (D.C. Cir. 2006) (“The appropriate question, then, is whether that

telephone conversation—not the allegedly defamatory sentence—was the kind of conduct

Ballenger was employed to perform.”).

       The Attorney General’s designee has certified that Mueller was acting within the scope of

his employment at the time Corsi’s tort claims arose. (See Mueller’s Mot., Ex. A.) Corsi

contests this certification, arguing that, since Mueller “actively circumvent[ed] grand jury

secrecy provisions and tr[ied] to obtain false sworn testimony from Plaintiff Corsi,” his conduct

is not the kind he was employed to perform. 13 (Pl.’s Opp’n to Mueller’s Mot. at 6.) But


13
  Initially, Corsi conceded that “[t]he tortious conduct set forth herein were [sic] also clearly
performed within the scope of his office or employment.” (Pl.’s Opp’n to Gov’t’s Mots. at 12,
ECF No. 34.) When questioned about this statement, plaintiff’s counsel first called it a
“misquote,” but then he said that he is not bound by it and can change his position now. (Tr. at
25:19–26:9.)

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Mueller’s or his staff’s interactions with Corsi, who was a witness before the grand jury,

certainly qualify as actions taken “on duty or on the job” of Special Counsel. See Jacobs, 724

F.3d at 221–22. Whether this conduct was wrongful is irrelevant to assessing the propriety of the

certification. Id.

        At the hearing, plaintiff’s counsel asserted that he is entitled to discovery to determine

whether Mueller was acting within the scope of his employment. (Tr. at 22:17–22:22, 30:12–

30:16.) But the sole case he cited in support of this assertion only permits discovery if the

plaintiff first meets his burden of “alleg[ing] sufficient facts that, taken as true, would establish

that the defendant’s actions exceeded the scope of his employment.” Wuterich, 562 F.3d at 381

(citations and internal quotation marks omitted). Corsi has not met this burden.

        Counts Three and Four are dismissed insofar as they are brought against Mueller, and the

United States is substituted as the sole defendant under the FTCA.

                     2. The Tort Claims Fail Against the Government Under the FTCA

        Corsi’s claims against the government fail because he did not comply with the FTCA’s

exhaustion requirement. Under that requirement,

                [a]n action shall not be instituted upon a claim against the United
                States for money damages for injury or loss of property or personal
                injury or death caused by the negligent or wrongful act or omission
                of any employee of the Government while acting within the scope
                of his office or employment, unless the claimant shall have first
                presented the claim to the appropriate Federal agency and his
                claim shall have been finally denied by the agency in writing and
                sent by certified or registered mail.
28 U.S.C. § 2675(a) (emphasis added). Moreover, this administrative exhaustion is a

“jurisdictional prerequisite to the maintenance of a tort suit against the United States.” GAF

Corp. v. United States, 818 F.2d 901, 904 (D.C. Cir. 1987); see also Smith v. Clinton, 886 F.3d

122, 127 (D.C. Cir. 2018).


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       Corsi does not contend that he has satisfied this requirement. Instead, he argues that his

claims fall under a supposed exception to the exhaustion requirement “where any resort to

administrative remedies would have been futile.” (Pl.’s Opp’n to Gov’t’s Mots. at 10–11, ECF

No. 34 (quoting Johnson v. District of Columbia, 368 F. Supp. 2d 30, 49 (D.D.C. 2005)

(alteration and internal quotation marks omitted)).) However, his only citation is inapposite, for

Johnson discusses the exhaustion requirement in the context of a different law—the District of

Columbia Comprehensive Merit Personnel Act. See 368 F. Supp. 2d at 39–40. By contrast, the

FTCA’s exhaustion requirement is jurisdictional and cannot be waived. See Chien v. United

States, No. 17-2334 (CKK), 2019 WL 4602119, at *8 (D.D.C. Sept. 23, 2019) (“[A] court may

not waive the FTCA’s exhaustion requirement on equitable grounds.” (citing Hohri v. United

States, 782 F.2d 227, 245–46 (D.C. Cir. 1986), rev’d on other grounds, 482 U.S. 64 (1987));

Smith v. Clinton, 253 F. Supp. 3d 222, 238 (D.D.C. 2017) (holding that “the FTCA’s exhaustion

requirement is jurisdictional and cannot be excused” and stating that futility applies only to non-

jurisdictional exhaustion), aff’d, 886 F.3d 122 (D.C. Cir.), cert. denied, 139 S. Ct. 459 (2018).

       In addition, these counts are subject to dismissal for lack of jurisdiction because the

FTCA’s limited waiver of sovereign immunity does not apply to the claims stated in Counts

Three and Four. That waiver excepts “[a]ny claim arising out of assault, battery, false

imprisonment, false arrest, malicious prosecution, abuse of process, libel, slander,

misrepresentation, deceit, or interference with contract rights.” 28 U.S.C. § 2680(h) (emphasis

added). Both Corsi’s claims for abuse of process and tortious interference with business

relationships are clearly covered by this language. See Moore v. United States, 213 F.3d 705,

713 n.7 (D.C. Cir. 2000) (“[T]he actions of a prosecutor cannot give rise to an abuse-of-process

claim under the FTCA.”); Wagdy v. Sullivan, No. 16-2164, 2018 WL 2304785, at *2 (D.D.C.



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May 18, 2018) (plaintiff’s claim for tortious interference with business relations is barred by §

2680(h) “because tortious interference with business or economic relations is a claim ‘arising out

of . . . interference with contract rights’”); see also Art Metal-U.S.A., Inc. v. United States, 753

F.2d 1151, 1153–55 (D.C. Cir. 1985) (claims for interference with prospective advantage were

“barred as claims arising out of interference with contract rights”).

       Corsi does not contest the conclusion that Counts Three and Four fall within the above-

quoted language from § 2680(h). Instead, he argues that they fall within an exception-to-the-

exception from the government’s waiver of sovereign immunity contained within that provision,

which allows claims “arising . . . out of assault, battery, false imprisonment, false arrest, abuse of

process, or malicious prosecution” to proceed “with regard to the acts or omissions of

investigative or law enforcement officers of the United States Government.” (See Pl.’s Opp’n to

Gov’t’s Mots. at 11–12.)

       Corsi’s argument fails. First, Corsi ignores the fact that claims arising out of interference

with contract rights are not included in the list of claims that may proceed if involving the acts or

omissions of an investigative or law enforcement officer. Second, the law is clear that Mueller is

not an investigative or law enforcement officer as defined by § 2680(h). 14 28 C.F.R. § 600.6

states that a Special Counsel has “the full power and independent authority to exercise all

investigative and prosecutorial functions of any United States Attorney.” And, this Circuit has

held that United States Attorneys are not “investigative or law enforcement officers” as defined

by § 2680(h). See Moore, 213 F.3d at 710, 713 n.7. As a result, neither of Corsi’s claims falls

under the “investigative or law enforcement officer” proviso of § 2680(h).


14
  Section 2680(h) defines “investigative or law enforcement officer” as “any officer of the
United States who is empowered by law to execute searches, to seize evidence, or to make
arrests for violations of Federal law.”

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       For these reasons, Counts Three and Four of Corsi’s amended complaint will be

dismissed with prejudice. 15

 II.   CORSI’S MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

       Although the Court will dismiss the four counts in Corsi’s amended complaint, he seeks

leave to file a second amended complaint. Federal Rule of Civil Procedure 15(a)(2) instructs

courts to “freely give leave [to amend] when justice so requires.” But “[c]ourts may deny a

motion to amend a complaint as futile . . . if the proposed claim would not survive a motion to

dismiss.” James Madison Ltd. v. Ludwig, 82 F.3d 1085, 1099 (D.C. Cir. 1996). The Court must

therefore evaluate Corsi’s motion under Rule 12(b)(6) standards. See United States v. All Assets

Held at Bank Julius, 229 F. Supp. 3d 62, 70 (D.D.C. 2017) (citing Rollins v. Wackenhut Servs.,

Inc., 703 F.3d 122, 223–24 (D.C. Cir. 2012)).

       Corsi’s proposed second amended complaint alleges a First Amendment retaliation claim

against Mueller under Bivens. This is the only change from the first amended complaint. This

new count is based entirely on facts set forth in the first amended complaint. (See Am. Compl.

¶¶ 20, 22–23, 55–56.) Specifically, the first amended complaint alleges that “Defendant Mueller

and his prosecutorial staff have demanded that Plaintiff Corsi falsely testify under oath that he

acted as a liaison between Roger Stone and Wikileaks leader Julian Assange concerning the

public release of emails obtained from the DNC’s servers.” (Id. ¶ 23.) Corsi claims that




15
  This count is being dismissed with prejudice even though the Court lacks subject matter
jurisdiction because “[a]bsent any waiver [of sovereign immunity], such claims must be
dismissed with prejudice.” Superior Fibre Prods., Inc. v. Dep’t of the Treasury, 156 F. Supp. 3d
54, 63 (D.D.C. 2016) (citing Sloan v. Dept’ of Hous. & Urban Dev., 236 F.3d 756, 759 (D.C.
Cir. 2001)); see also Nations v. United States, No. 14-cv-00618, 2015 WL 1704195, at *2
(D.D.C. Apr. 15, 2015) (dismissing tort claims with prejudice where sovereign immunity was not
waived and citing F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994)); Menifee v. Dep’t of the Interior,
931 F. Supp. 2d 149, 162 (D.D.C. 2013) (same).
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“Defendant Mueller has threatened to indict Plaintiff Corsi and effectively put him in federal

prison for the rest of his life unless Plaintiff Corsi would provide [that testimony], even after

being informed that the testimony desired would be false.” (Id. ¶ 22.) Corsi does not identify in

his complaint the offense for which he was allegedly threatened to be indicted.

       At the hearing, plaintiff’s counsel acknowledged that, to the best of his knowledge, Corsi

had never met Mueller and any alleged threats were conveyed to Corsi by the prosecutors in his

office, not by Mueller. (Tr. at 6:4–6:21.) Counsel also acknowledged that Corsi gave the

Washington Post a copy of the plea papers that had been presented to him by the prosecutors as

part of the plea negotiations. 16 (Tr. at 17:6–18:4.) Corsi concedes that he never testified falsely,

he declined to enter the plea agreement, he was never indicted, and Mueller’s investigation has

been concluded. (Tr. at 53:3–53:10.) Further, plaintiff’s counsel was asked if there was any

additional evidence, besides Corsi’s assertion that he told the prosecutors it was false, to support

his claim that the defendant knew the testimony the prosecutors were requiring him to provide to

get a favorable plea deal was false. Counsel first responded, “that’s enough,” but he later added

that the prosecutors knew that Corsi was not an intermediary because Corsi had turned over all

his emails and text messages. (Tr. at 36:6–36:23, 40:3–40:18, 51:21–52:1.)

       As set forth in the proposed second amended complaint, Corsi claims that Mueller

engaged in a retaliatory violation of his First Amendment rights. Corsi alleges that he “engaged

in constitutionally protected speech and/or activity by testifying truthfully and giving an accurate

account of the events related to Defendant Mueller’s Russian collusion investigation to the best


16
  With the agreement of the parties, the Court admitted as Exhibit A at the hearing a draft
Information charging an 18 U.S.C. § 1001 count relating to allegedly false statements made on
September 10, 2018, to “the Special Counsel’s Office, including Special Agents of the Federal
Bureau of Investigation;” a Statement of the Offense; and a proposed plea agreement. (Hr’g, Ex.
A, Information at 1.)

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of his personal knowledge and belief.” (2d Am. Compl. ¶ 50, ECF No. 41-1.) He claims that

“[a]s a direct and proximate result of [this], Plaintiff Corsi was threatened with indictment

because he did not testify falsely and provide information that Defendant Mueller wanted.” (Id.

¶ 51.) He also alleges that “Defendant Mueller formed a retaliatory motive and threatened

Plaintiff Corsi with indictment because he was exercising his First Amendment rights.” (Id. ¶

52.)

        For the reasons set forth below, the Court will deny the motion to amend on the grounds

that the amendment would be futile.

            A. Corsi Fails to State a Claim for First Amendment Retaliation

                    1. Corsi’s Speech Was Not Adversely Affected

        Few courts have recognized First Amendment retaliation claims under Bivens. In support

of his contrary position, Corsi principally relies on a 2001 Fourth Circuit case—Trulock v.

Freeh, 275 F.3d 391 (4th Cir. 2001). In Trulock, the plaintiff claimed that the defendants

violated his First Amendment right to free speech by conducting a retaliatory warrantless search

of his residence and computer after he wrote an article that was highly critical of the FBI. Id. at

397–99. The court set forth the elements of a claim for First Amendment retaliation: “[A]

plaintiff must prove . . . (i) that his speech was protected; (ii) that the defendant’s alleged

retaliatory action adversely affected his constitutionally protected speech; and (iii) that a causal

relationship existed between his speech and the defendant’s retaliatory action.” Id. at 404

(citation omitted). The D.C. Circuit has recognized similar elements. See Doe v. District of

Columbia, 796 F.3d 96, 106 (D.C. Cir. 2015).

        Even assuming he engaged in protected speech by testifying before a grand jury pursuant

to subpoena, Corsi cannot satisfy the second element—that the defendant engaged in retaliatory



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action that adversely affected his protected speech. The alleged retaliatory action was a threat of

indictment, but Corsi was not indicted. And, although a “[f]ear of retaliation may chill an

individual’s speech,” there was no chill here. Trulock, 275 F.3d at 404. Corsi did not change his

testimony or enter a plea. Instead, he spoke “openly” with the press “about his dealings with the

special counsel,” and he provided reporters with the proposed plea papers that had been given to

him by the prosecutors. Sharon LaFraniere & Maggie Haberman, Roger Stone Sought

WikiLeaks’ Plans Amid 2016 Campaign, Associate Says, N.Y. Times (Nov. 27, 2018),

https://www.nytimes.com/2018/11/27/us/politics/jerome-corsi-roger-stone-wikileaks.html; see

also Carol D. Leonnig, Rosalind S. Helderman, & Manuel Roig-Franzia, Corsi provided early

alert to Stone about WikiLeaks release, according to draft special counsel document, The Wash.

Post (Nov. 27, 2018, 7:44 p.m.), https://www.washingtonpost.com/politics/corsi-provided-early-

alert-to-stone-about-wikileaks-release-according-to-draft-special-counsel-

document/2018/11/27/9cb68b06-f28e-11e8-80d0-f7e1948d55f4_story.html. Thus, any threat did

not adversely affect his constitutionally protected speech. 17 See Hatfill v. Ashcroft, 404 F. Supp.

2d 104, 118–19 (D.D.C. 2005) (plaintiff failed to show that his First Amendment rights were

chilled where he “continued to fully exercise his . . . right to comment on the investigation and

seek redress for alleged wrongs that ha[d] purportedly been committed in the course of the

investigation”); see also Curley v. Village of Suffern, 268 F.3d 65, 73 (2d Cir. 2001) (“Where a

party can show no change in his behavior, he has quite plainly shown no chilling of his First

Amendment right to free speech.”); Smith v. Plati, 258 F.3d 1167, 1177 (10th Cir. 2001) (lack of



17
   At the hearing, plaintiff’s counsel asserted that Corsi “seriously consider[ed] caving” to the
alleged demands of the prosecutors. (Tr. at 55:1–2.) But, “[a]llegations of a subjective ‘chill’
are not an adequate substitute for a claim of specific present objective harm.” Laird v. Tatum,
408 U.S. 1, 13–14 (1972).

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change in plaintiff’s behavior “offer[ed] some evidence that” the alleged retaliatory action did

not affect his constitutionally protected speech).

                   2. Corsi Does Not Claim Prosecutors Lacked Probable Cause to Indict
                      Him

       Corsi also fails to state a claim for retaliatory prosecution because he does not allege that

the prosecutors lacked probable cause to indict him. “[A] plaintiff in a retaliatory-prosecution

action must plead and show the absence of probable cause for pressing the underlying criminal

charges.” Hartman v. Moore, 547 U.S. 250, 256–57 (2006). Neither Corsi’s amended complaint

nor his proposed second amended complaint alleges an absence of probable cause underlying the

threatened false statement charge. When asked his position on this issue at the hearing,

plaintiff’s counsel responded that probable cause “has nothing to do with this case,” and the

Court is “not here to litigate whether there was probable cause.” (Tr. at 19:22–20:1.) Because

he does not provide facts to permit an inference of an absence of probable cause for the draft

Information and Statement of the Offense, he fails to state a retaliatory prosecution claim. 18

           B. There Is No Basis to Extend Bivens

       Courts follow a two-part test when asked to extend a Bivens remedy in a particular case.

First, a court must determine whether the plaintiff seeks the remedy in a new context. A new

Bivens context arises when a case differs “in a meaningful way from previous Bivens cases

decided by” the Supreme Court. Abassi, 137 S. Ct. at 1859. If no new context is presented, then


18
  Corsi’s proposed Bivens claim would also be subject to dismissal under Rule 12(b)(6) because
he relies on respondeat superior to hold Mueller liable. As previously discussed, respondeat
superior is not a viable basis for holding a supervisor liable in a Bivens action. See supra at
Section I.C.2. (citing Iqbal, 556 U.S. at 676, and Simpkins, 108 F.3d at 369). Plaintiff’s counsel
admitted that Corsi had never met Mueller and only interacted with prosecutors in Mueller’s
office. (Tr. at 6:4–6:21.) Also, Corsi’s proposed amended complaint lacks facts upon which to
infer that Mueller instructed his subordinates to threaten Corsi. Again, this is insufficient under
Iqbal, 556 U.S. at 676.

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the claim is cognizable. On the other hand, if a plaintiff asserts Bivens in a new context, the

court must determine whether “special factors” exist that “counsel[] hesitation in the absence of

affirmative action by Congress.” Id. at 1857 (citation and internal quotation marks omitted).

                   1. Corsi’s First Amendment Retaliation Claim Is Novel

       Corsi’s First Amendment retaliation claim attempts to apply Bivens to a new context.

First, and perhaps most importantly, the Supreme Court has never recognized a Bivens action for

any First Amendment violation. Reichle v. Howards, 566 U.S. 658, 663 n.4 (2012) (“We have

never held that Bivens extends to First Amendment claims.”). And to the extent it has addressed

retaliation claims, it has declined to extend the remedy. See Wilkie, 551 U.S. at 561–62 (denying

a Bivens remedy for claims of retaliation for the exercise of property rights); Bush v. Lucas, 462

U.S. 367, 390 (1983) (declining to extend Bivens to a claim that the plaintiff, a federal employee,

was demoted because he exercised his First Amendment rights). Even more to the point, the

Supreme Court has suggested that a claim of “retaliatory investigation with a view to promote

prosecution” is not a cognizable constitutional tort, let alone a cognizable claim under Bivens.

Hartman, 547 U.S. at 262 n.9 (“No one here claims that simply conducting a retaliatory

investigation with a view to promote a prosecution is a constitutional tort. . . . Whether the

expense or other adverse consequences of a retaliatory investigation would ever justify

recognizing such an investigation as a distinct constitutional violation is not before us.”).

       When asked to name a case that recognized a Bivens action for a mere threat of

prosecution in retaliation for an exercise of First Amendment rights, plaintiff’s counsel stated

that he “suspect[s] there are cases out there,” but that this may be “a case of first impression.”

(Tr. at 32:16–32:17.) Alternatively, he urged that Corsi’s claim does not present a new Bivens

context “if you put together Bivens” with other cases in which the remedy was extended. (Id. at



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32:4–32:15.) The cases he cites, however, are distinguishable. The plaintiffs in those cases had

been the subject of an actual prosecution or enforcement action, rather than the subject of an

unrealized threat. See Hartman, 547 U.S. at 253–57 (assuming, without deciding, the existence

of a First Amendment retaliatory prosecution claim where the plaintiff was prosecuted and

eventually acquitted); Fields v. Wharrie, 740 F.3d 1107, 1109 (7th Cir. 2014) (allowing a § 1983

claim against state prosecutors to proceed where the plaintiff had been wrongly convicted of two

murders based on evidence manufactured by the defendants); 19 Haynesworth v. Miller, 820 F.2d

1245, 1255–57 (D.C. Cir. 1987) (extending Bivens where the alleged retaliatory action was an

indictment for disorderly conduct), abrogated on other grounds, Hartman, 547 U.S. 250 (2006);

Loumiet v. United States, 292 F. Supp. 3d 222, 225–26 (D.D.C. 2017) (extending Bivens where a

baseless enforcement proceeding was brought against the plaintiff in retaliation for the exercise

of his First Amendment rights); see also Wilson v. Libby, 498 F. Supp. 2d 74, 86 (D.D.C. 2007)

(“[D]amages actions have been permitted under the First Amendment against federal officials

who instituted criminal prosecutions in retaliation for the exercise of protected speech rights.”

(emphasis added)). 20 Therefore, Corsi seeks a Bivens remedy in a new context, and a special

factors analysis is warranted.


19
  Wharrie was not a Bivens action, so there was no need to determine whether Bivens should be
extended to a new context.
20
   Corsi also relies upon Trulock, in which the plaintiff alleged that federal officers retaliated
against him by conducting a warrantless search of his home and his computer for writing an
article criticizing certain government actions. 275 F.3d at 397–99. Unlike this case, Trulock
was not the subject of a criminal prosecution or a grand jury investigation, and there was no
threat of indictment. Rather, the FBI agents allegedly undertook a warrantless search in
retaliation for plaintiff’s exercise of his First Amendment rights. The district court had
dismissed the case on Rule 12(b)(6) grounds, and the Fourth Circuit reversed to allow the Bivens
claim to proceed. Id. at 399, 406. But in doing so, neither the district court nor the Fourth
Circuit conducted a Bivens analysis. Instead, the Fourth Circuit’s analysis centered on qualified
immunity, which it held did not apply because the defendants “d[id] nothing more than offer
their bald assertions that they are entitled to qualified immunity.” Id. at 406. Trulock also pre-
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                   2. Special Factors Counsel Against Recognizing a Bivens Action

       Corsi’s First Amendment claim implicates special factors that demonstrate that Congress,

not the courts, should decide whether a damages remedy for retaliatory threat of prosecution

should be recognized. First, recognition of Corsi’s novel claim would violate the separation of

powers doctrine by “burdening and interfering with the executive branch’s investigative and

prosecutorial functions.” Farah v. Weyker, 926 F.3d 492, 500 (8th Cir. 2019) (citing Abbasi, 137

S. Ct. at 1861); see also Clinton v. Jones, 520 U.S. 681, 701 (1997) (“[T]he separation-of-powers

doctrine requires that a branch not impair another in the performance of its constitutional duties.”

(citation and internal quotation marks omitted)). The recognition of a Bivens remedy for

retaliatory threats of prosecution could cause the judiciary to have to supervise situations where a

prosecutor indicates that an individual may be indicted if he or she does not provide desired

testimony.

       Relatedly, allowing such a claim would interfere with the well-recognized principle that

prosecutorial discretion is not subject to judicial review. Wayte v. United States, 470 U.S. 598,

607–08 (1985) (“[T]he decision to prosecute is particularly ill-suited to judicial review.”); In re

Sealed Case No. 97-3025, 131 F.3d at 214 (“[T]he exercise of prosecutorial discretion . . . has

long been held presumptively unreviewable.”). The judiciary’s deference to prosecutors stems

from concerns that judicial oversight would “delay[] the [underlying] criminal proceeding,


dated Abbasi, in which the Supreme Court warned that extending Bivens is “disfavored.”
Abbasi, 137 S. Ct. at 1857 (citation and internal quotation marks omitted).

   Plaintiff’s counsel also cited Navob-Safavi v. Broadcasting Board of Governors, in which this
Court recognized a Bivens claim where the plaintiff, a federal contractor, alleged that she was
terminated for exercising her First Amendment rights. 650 F. Supp. 2d 40, 76 (D.D.C. 2009).
Because that case involved a retaliatory employment action, rather than a retaliatory threat of
prosecution, it does not follow that Navob supports Corsi’s argument that Bivens applies to pre-
indictment plea negotiations.

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threaten[] to chill law enforcement by subjecting the prosecutor’s motives and decisionmaking to

outside inquiry, . . . undermine prosecutorial effectiveness by revealing the Government’s

enforcement policy,” “cause an official to second-guess difficult but necessary decisions,”

“impair intelligence gathering[,] and cause sources to close up like a clam.” Wayte, 470 U.S. at

607; Abbasi, 137 S. Ct. at 1861; Wilson, 535 F.3d at 710 (quoting Tenet v. Doe, 544 U.S. 1, 11

(2005)) (internal quotation marks omitted).

       Allowance of Corsi’s claim could also overwhelm prosecutors with Bivens actions,

thereby affecting their ability to perform their duties. Prosecutors would risk subjecting

themselves to personal liability each time they indicate to a potential defendant that they may

indict him or her, since such an indication could be construed as a “threat.” And would-be

defendants might be encouraged to bring Bivens actions based on a putative threat, since doing

so could prove advantageous in plea negotiations. “[T]he burden and demand of litigation” that

would result from an extension of Bivens in this instance “might well prevent [prosecutors] . . .

from devoting the time and effort required for the proper discharge of their duties.” Abbasi, 137

S. Ct. at 1860.

       Moreover, application of Bivens to threats of prosecution would create line-drawing

problems that the courts are ill-equipped to handle. Specifically, plaintiffs could challenge

legitimate plea offers on the basis that a prosecutor “demanded too much and went too far.”

Wilkie, 551 U.S. at 557. But “[a] ‘too much’ kind of liability standard . . . can never be as

reliable a guide to conduct and to any subsequent liability as a ‘what for’ standard, and that

reason counts against recognizing freestanding liability in a case like this.” Id. This is especially

true where the challenged conduct—in this instance, plea bargaining—is considered a

“legitimate tactic[] designed to improve the Government’s negotiating power.” Id.



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       Finally, recognition of Corsi’s claim could threaten the practice of plea bargaining, which

is an “important component[] of this country’s criminal justice system.” Bordenkircher v.

Hayes, 434 U.S. 357, 361 (1978) (holding that the Fourteenth Amendment’s Due Process Clause

is not violated when a “prosecutor carries out a threat made during plea negotiations to reindict

the accused on more serious charges if he does not plead guilty to the offense with which he was

originally charged”). Indeed, in 2012, “[n]inety-seven percent of federal convictions . . . [we]re

the result of guilty pleas,” and the Supreme Court has hesitated to create rules “that would drive

the practice of plea bargaining . . . into the shadows.” Missouri v. Frye, 566 U.S. 134, 143

(2012); Bordenkircher, 434 U.S. at 365. An extension of Bivens here could do just that by

encouraging prosecutors to avoid plea bargaining so as to minimize the risk of being sued in their

personal capacities.

       Because these special factors counsel against extending Bivens to this new context, the

Court concludes that Corsi cannot bring a First Amendment retaliation claim under Bivens.

           C. Mueller Is Entitled to Qualified Immunity

       In the alternative, Corsi’s claim would be barred by qualified immunity. “Qualified

immunity shields federal and state officials from money damages unless a plaintiff pleads facts

showing (1) that the official violated a statutory or constitutional right, and (2) that the right was

‘clearly established’ at the time of the challenged conduct.” al-Kidd, 563 U.S. at 735. “The

relevant, dispositive inquiry in determining whether a right is clearly established is whether it

would be clear to a reasonable officer that his conduct was unlawful in the situation he

confronted.” Saucier v. Katz, 533 U.S. 194, 202 (2001). “‘[E]xisting precedent must have

placed the statutory or constitutional question beyond debate.’” Daugherty v. Sheer, 891 F.3d

386, 390 (D.C. Cir. 2018) (quoting Reichle, 566 U.S. at 664). The allegedly violated right must



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be defined “narrowly” so that it “fit[s] the factual pattern confronting the officers.” Dukore v.

District of Columbia, 799 F.3d 1137, 1145 (D.C. Cir. 2015). The party asserting the existence of

the right at issue—in this case, Corsi—“has the burden to show that the particular right in

question . . . was clearly established for qualified immunity purposes.” Daugherty, 891 F.3d at

390 (citation and internal quotation marks omitted).

       But, as noted before, “simply conducting a retaliatory investigation with a view to

promote a prosecution” has not been recognized as a constitutional tort. Hartman, 547 U.S. at

262 n.9; see supra at Section II.B.1. Indeed, the Supreme Court has expressed skepticism that

such a tort should be cognizable. See Hartman, 547 U.S. at 262 n.9. Given Hartman’s

acknowledgement that such a right has not been recognized and the lack of any authority among

lower courts extending such a right to preindictment plea negotiations, there is no basis to argue

that such a right was clearly established. 21 See Pitt v. District of Columbia, 491 F.3d 494, 511–

12 (D.C. Cir. 2007).

       Corsi’s proposed amendment to his complaint would be futile, and, therefore, the Court

will deny him leave to amend.




21
   While this Court does not rest on absolute immunity, it notes that the Tenth Circuit, in an
opinion authored by now-Justice Gorsuch, found that absolute immunity “extends to ‘conditional
prosecutorial decisions,’ which provisionally withhold charges in exchange for a quid pro quo,
so long as the threat of prosecution is not tied to a demand ‘manifestly or palpably beyond [the
prosecutor’s] authority.’” Blazier v. Larson, 443 F. App’x 334, 336 (10th Cir. 2011) (Gorsuch,
J.) (quoting Schloss v. Bouse, 876 F.2d 287, 291 (2d Cir. 1989)) (the plaintiff sued the prosecutor
for a threatened prosecution where the prosecutor dropped charges of harming a victim but
threatened to reinitiate the criminal proceedings if the plaintiff did not cease his online campaign
against the victim).

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                                       CONCLUSION

       For the reasons stated above, the Court will grant defendants’ motion to dismiss and deny

plaintiff’s motion for leave to amend his complaint. A separate Order accompanies this

Memorandum Opinion.




                                                   _______________________
                                                   ELLEN S. HUVELLE
                                                   United States District Judge


Date: October 31, 2019




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JEROME CORSI,

                           Plaintiff,

                  v.                                   Civil Action No. 18-02885 (ESH)

  ROBERT MUELLER, et al.,

                          Defendants.



                                              ORDER

       Before the Court are defendants’ motions to dismiss and plaintiff’s motion for leave to

amend his complaint. (See Gov’t’s Mot. to Dismiss, ECF No. 22; Mueller’s Mot. to Dismiss,

ECF No. 27; Gov’t’s Mot. to Dismiss Counts III & IV, ECF No. 28; Pl.’s Mot. for Leave to File

2d Am. Compl., ECF No. 41.) For the reasons stated in an accompanying Memorandum

Opinion, it is hereby

       ORDERED that defendants’ motions to dismiss are GRANTED as follows:

       (1) Count One is DISMISSED WITHOUT PREJUDICE as to the government for lack

of subject matter jurisdiction. That count is DISMISSED WITH PREJUDICE as to Mueller

for both lack of subject matter jurisdiction and for failure to state a claim.

       (2) Count Two is DISMISSED WITH PREJUDICE for failure to state a claim.

       (3) Counts Three and Four, which have been converted into claims against the United

States governed by the FTCA, are DISMISSED WITH PREJUDICE because the FTCA’s

limited waiver of sovereign immunity does not apply.

       It is further ORDERED that Plaintiff’s Motion for Leave to File Second Amended

Complaint is DENIED.



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                                           _______________________
                                           ELLEN S. HUVELLE
                                           United States District Judge


Date: October 31, 2019




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